                        Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 1 of 91

AO 91 (rev. I I/I I) Criminal Complaint                            AUTIIORIZED ANDAPPROVEDDATE:           #-12--�/                  tf/'&.--t/-,,.I




                                             United States District Court
                                                                    for the

----------=-"-==-..c:c.
         WESTERN       =.=..:------ DISTRICT                                   OF ____ O=KL=AH!...=..!=O=MA�-----

            UNITED STATES OF AMERICA                                   )
                                                                       )
                                Plaintiff,                             )
                                                                       )
                     -vs-                                              )
                                                                       )                 No: M-21-674 -STE
            MARJA JULIA BAEZA-MEDRANO,                                 )
              a/k/a La Tia,                                            )
            JESUS IV A BAEZA-MEDRANO,                                  )
              a/k/a Polaco,                                            )
            CARLOS AARON BAEZA-MEDRANO,                                )
            ALEXIS PEREZ-CAMACHO,                                      )
              a/k/a Cholo,                                             )
            JOSE RAMON DOMINGUEZ,                                      )
              a/k/a Golo,                                              )
            JUA LUIS LOPEZ-CARREON,                                    )
              a/k/a El Licenciado,                                     )
            JUAN SOTO,                                                 )
              a/k/a El Gi.iero,                                        )
            IVAN ROY GONZALEZ-HERNANDEZ,                               )
              a/k/a Roy,                                               )
            KEVIN PEREZ-CAMACHO,                                       )
            ANDREA MARIE ALVAREZ,                                      )
            JOSUE ISRAEL LOPEZ,                                        )
              a/k/a Mono,                                              )
            OMAR JOSPEH LfNCOLN,                                       )
            LAVERN THOMAS,                                             )
            NANCY MORALES,                                             )
            CESAR OMAR-MERAZ, and                                      )
            DIEGO LOY A-NAJERA,                                        )
                                                                       )
                               Defendants.                             )

                                                        CRIMINAL COMPLAINT

            I, the complainant in this case, state that the following is true to the best of my knowledge and belief. From in or about the

date January 2020 and continuing thereafter until on or about October 26, 2021, in the Western District of Oklahoma, the defendants

violated:

            Code Section                                             Offense Description
            21 U.S.C. § 846                                          Conspiracy to Possess with Intent to Distribute and
                                                                     to Distribute 5 kilograms or more of Cocaine and 500 grams or more
                                                                     of Methamphetamine
                    Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 2 of 91



         This criminal complaint is based on these facts:

        See attached Affidavit of Special Agent, Tyler Rawdon, DEA which is incorporated and made a part hereof by reference.

        D Continued on the attached sheet.

                                                                                             Complainant's signature
                                                                             Tyler Rawdon
                                                                             Special Agent
                                                                             DEA

Sworn to before me and signed in my presence.

       Nov 28, 2021
Date: ___________   __
                                                                                                 Judge's signature
                 Lawton
City and State: Oklahoma City. Oklahoma                                      Shon T. Erwin. U.S . Magistrate Judge
                                                                                               Printed name and title




                                                               2
        Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 3 of 91




                  WESTERN DISTRICT OF OKLAHOMA
                    OKLAHOMA CITY, OKLAHOMA

STATE OF OKLAHOMA  )
                   )
COUNTY OF OKLAHOMA )

                                  AFFIDAVIT

      I, Tyler T. Rawdon, a Special Agent (SA) of the Drug Enforcement

Administration (DEA), being duly sworn, depose and state as follows:

      1.    I am an investigative or law enforcement officer of the United

States and am empowered by law to conduct investigations of, and to make

arrests for, offenses as set forth in 18 U.S.C. § 2516.

      2.    I have been a special agent with DEA since April 2019. I have been

in law enforcement since I became a police officer in November 2010. After

successfully completing the training academy at Fort Worth Police

Department, I was assigned to the Fort Worth Police Department Patrol

Division for approximately four years where I conducted countless street level

narcotics investigations.    I was then assigned to the Fort Worth Police

Narcotics Unit in March 2015; during this time, I regularly conducted drug

investigations using different investigative techniques. In December 2017, I

was assigned to a DEA Task Force as a duly sworn Task Force Officer. In April

2019, I was hired by the Drug Enforcement Administration and attended the

four-month academy in Quantico, Virginia. In August 2019, I was assigned to
          Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 4 of 91




DEA in Oklahoma City, Oklahoma, where I am assigned today. Through my

training and experience, I have become familiar with the methods and

operation of drug distributors, including their common organizational

structures, use of violence, methods of distributing, storing, and transporting

drugs, and methods of collecting and laundering drug proceeds. During my

employment in law enforcement, I have received training and conducted

investigations related to drugs, drug distribution, and conspiracy involving the

same, in violation of Title 21, United States Code, Sections 841(a)(1) and 846.

I have participated in many aspects of drug investigations, including but not

limited    to:     surveillance,   search   warrants,   arrests,   reviewing   taped

conversations and drug records, and debriefing defendants, informants, and

witnesses who have personal knowledge about major drug trafficking

organizations.

      3.         The facts set forth in this Affidavit are based upon my personal

knowledge, knowledge obtained from other law enforcement personnel, review

of documents related to this investigation, communications with other

individuals who have personal knowledge of the events and circumstances

described herein, and information gained through training and experience.

Since this Affidavit is being submitted for the limited purpose of seeking a

complaint and arrest warrants against the individuals named below, I have

not included every fact known to me concerning this investigation. Rather I

                                            2
           Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 5 of 91




have set forth only the facts I believe are essential to establish the foundation

necessary to support the complaint and arrest warrants.

                           PURPOSE OF AFFIDAVIT

      4.       This Affidavit is submitted in support of a criminal complaint and

arrest warrants for Maria Julia Baeza-Medrano, a/k/a “La Tia” (JULIA), Jesus

Ivan Baeza-Medrano, a/k/a “Polaco” (IVAN), Carlos Aaron Baeza-Medrano

(AARON), Alexis Perez-Camacho, a/k/a “Cholo” (PEREZ-CAMACHO), Jose

Ramon Dominguez, a/k/a “Golo” (DOMINGUEZ), Juan Luis Lopez-Carreon,

a/k/a “El Licenciado” (LOPEZ-CARREON), Juan Soto, a/k/a “El Güero”

(SOTO), Ivan Roy Gonzalez-Hernandez, a/k/a “Roy” (ROY), Kevin Perez-

Camacho (KEVIN), Andrea Marie Alvarez (ALVAREZ), Josue Israel Lopez, a/k/a

“Mono” (LOPEZ), Omar Joseph Lincoln (LINCOLN), Lavern Thomas

(THOMAS), Nancy Morales (MORALES), Cesar Omar-Meraz (OMAR-

MERAZ), and Diego Loya-Najera (LOYA-NAJERA) for their participation in a

drug conspiracy—that is a conspiracy to possess with intent to distribute

controlled substances, including 5 kilograms or more of a mixture or substance

containing a detectable amount of cocaine and 500 grams or more of a mixture

or substance containing a detectable amount of methamphetamine, both being

Schedule II controlled substances, from in or about January 2020 and

continuing thereafter until on or about October 26, 2021, in violation of 21

U.S.C. § 846.

                                         3
           Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 6 of 91




                     BACKGROUND TO INVESTIGATION

      5.       A months-long DEA investigation has identified a major cocaine and

methamphetamine trafficking organization—the Baeza-Medrano DTO (“the

DTO”)—which is headquartered in Oklahoma City and which is distributing

hundreds of kilograms of methamphetamine and cocaine throughout the state of

Oklahoma and elsewhere.         Information developed during this investigation

indicates that the day-to-day operations of the DTO are carried out by JULIA, her

sons IVAN and AARON, their cousins PEREZ-CAMACHO and KEVIN, as well

as several Oklahoma-based associates, such as DOMINGUEZ, LOPEZ-

CARREON, SOTO, ALVAREZ, and ROY. The investigation established that a

large part of the DTO’s activities, particularly deliveries of multi-kilogram

quantities of cocaine to other customers in other states, is directed by an individual

residing in Chihuahua, Mexico, that law enforcement knows only as “Chuy”

(CHUY LNU). Drug couriers such as MORALES are responsible for transporting

drugs into Oklahoma, which are then distributed by the DTO in Oklahoma and

elsewhere. In fact, during the course of this investigation, law enforcement was

able to identify several major out-of-state customers of the DTO, including

THOMAS (Minnesota), LINCOLN (Arkansas), OMAR-MERAZ (Mississippi),

and LOYA-NAJERA (Mississippi), among others. The DTO also, however, was

providing multi-kilogram quantities of methamphetamine and/or cocaine to local

customers and distributors, such as LOPEZ, ROY, SOTO, ALVAREZ, and L.N.

                                          4
           Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 7 of 91




Some of these people, such as ROY, also served as money-couriers for the DTO.

      6.       As described at length below, JULIA resided at 9601 S. Indiana Ave.,

Oklahoma City, Oklahoma (the “Indiana Residence”). Her two sons, AARON and

IVAN, as well as PEREZ-CAMACHO, frequented that residence, where they

would store the DTO’s methamphetamine and cocaine before loading it into

vehicles to be transported for deliveries. The investigation also established that

the DTO used another residence as well, located at 1108 SW 49th St., Oklahoma

City, to store the DTO’s drugs (the “49th St. Residence”). It appears that both

locations, the Indiana Residence and the 49th St. Residence, were also used to

traffic firearms on behalf of the DTO.

      7.       The Indiana Residence, however, was not only used to store drugs,

bulk proceeds, and firearms: it housed detailed drug ledgers—maintained by

JULIA—and bulk U.S. currency. As discussed below, JULIA, AARON, and

IVAN were arrested on October 26, 2021, following a traffic stop in which their

vehicle was found to contain 22.85 gross kilograms of methamphetamine and 3.28

gross kilograms of cocaine. When law enforcement executed a search warrant on

the Indiana Residence later that day, they recovered $192,692.42 and

approximately 9.5 kilograms of cocaine and 4 kilograms of methamphetamine, as

well as drug ledgers that documented the DTO’s drug trafficking up through

October 2021 (the “Indiana Ledgers”). Those ledgers—which included names of

co-conspirators, the amounts of drugs sold, and the amount of currency received

                                          5
           Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 8 of 91




for those drug transactions—further corroborated the investigation and are

discussed at length throughout this Affidavit.

      8.       All told, the BAEZA-MEDRANO DTO appears to be responsible for

the importation, transportation, and distribution of hundreds of kilograms of

cocaine and methamphetamine in Oklahoma and other states. With that, millions

of dollars per year are obtained in drug proceeds, most of which is ultimately

transferred back down to Mexico by way of bulk cash smuggling. During this

investigation, law enforcement has employed a number of investigative

techniques, ranging from the use of cooperating defendants and sources, to

controlled buys, physical and electronic surveillance, and court-authorized

wiretaps.     At every step, these techniques have shown the existence of an

extensive     conspiracy    to   distribute   large   amounts     of   cocaine   and

methamphetamine across Oklahoma and other parts of the country.

                 FACTS ESTABLISHING PROBABLE CAUSE

      9.       As stated, the investigation has been aided by Title III wiretaps. For

example, on April 2, 2021, the Honorable Claire V. Eagan, United States District

Judge for the Northern District of Oklahoma, signed an Order pursuant to 18

U.S.C. § 2518, et seq. authorizing the interception of wire communications on

telephone number (918) 508-8958, IMSI: 311480624618457, used by Manuel

Gustavo Cardenas-Lozoya (CARDENAS-LOZOYA), whom investigators had

identified as a Tulsa-based distributor for the DTO. Interception over

                                          6
           Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 9 of 91




CARDENAS-LOZOYA’s -8958 number began on April 2, 2021, and terminated

April 30, 2021.

      10.      Pursuant to those interceptions, on April 20, 2021, at approximately

4:03 p.m., CARDENAS-LOZOYA was intercepted speaking with Reinaldo

Gustavo-Martinez (GUSTAVO-MARTINEZ), who was using telephone number

(918) 859-48791 (Ref. # 1636). During the call, GUSTAVO-MARTINEZ asks if

CARDENAS-LOZOYA wants to meet “at the same business,” to which

CARDENAS-LOZOYA confirms, stating, “I’ll see you there right at five (5:00),

dude.” As shown below, the call was to set up a cocaine deal in Tulsa—made

possible by PEREZ-CAMACHO and LOPEZ-CARREON delivering that

cocaine from Oklahoma City.

      11.      In fact, at the time of this call, PEREZ-CAMACHO and LOPEZ-

CARREON were already on their way to Tulsa from Oklahoma City with the

cocaine.     At approximately 3:41 p.m. on April 20, 2021, the GPS tracker on

PEREZ-CAMACHO’s black Chevrolet Cruze2 showed the vehicle traveling

eastbound on the Turner Turnpike towards Tulsa. In response, law enforcement

began to conduct physical surveillance of the vehicle as it approached Tulsa.



1     Unless otherwise noted, each intercepted call discussed herein was
originally intercepted in Spanish and translated to English by DEA linguists.
2     On April 8, 2021, Special District Judge David A. Guten, Tulsa County
District Court, signed an order authorizing the installation of GPS tracking
device on this black Chevrolet Cruze, bearing Oklahoma license plate JTK077.

                                          7
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 10 of 91




Further confirming that PEREZ-CAMACHO was traveling to the deal was the

GPS ping on PEREZ-CAMACHO’s telephone number (405) 977-9007 (the “-9007

number”), which showed him traveling with the Cruze.3 At approximately 5:06

p.m., law enforcement observed PEREZ-CAMACHO’s Cruze pull into the strip

mall parking lot at 1100 E. 31st St. in Tulsa. Also observed in the parking lot was

a tan Honda Odyssey bearing Oklahoma tag LGZ344—which law enforcement

identified as being registered to GUSTAVO-MARTINEZ at 12821 E 13th Pl.,

Tulsa, Oklahoma. Parked directly next to GUSTAVO-MARTINEZ was a black

Ford F-150 with a temporary license plate, which law enforcement observed to be

driven by CARDENAS-LOZOYA. As PEREZ-CAMACHO’s Cruze parked in the

lot near the Honda Odyssey and the Ford F-150, law enforcement observed

CARDENAS-LOZOYA enter the rear passenger seat of the Cruze. At

approximately 5:08 p.m., law enforcement observed CARDENAS-LOZOYA exit

the rear passenger seat of the Cruze and enter a business north of where the Cruze

was parked. Next, at approximately 5:16 p.m., CARDENAS-LOZOYA exited the

business, carrying a small unidentified object in his hands, and returned to the

Cruze. At approximately 5:17 p.m., CARDENAS-LOZOYA exited the Cruze and

returned to his F-150 and departed the parking lot. A few minutes later, at




3     On April 7, 2021, Special Judge April Seibert, Tulsa County District
Court, signed an order authorizing law enforcement to obtain GPS location
data on this phone number.
                                        8
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 11 of 91




approximately 5:20 p.m., law enforcement observed GUSTAVO-MARTINEZ exit

the business and enter the driver’s seat of the Honda Odyssey and depart the

parking lot as well. At approximately 5:28 p.m., law enforcement conducted a

probable cause traffic stop with the Honda Odyssey for an improper lane change

at 10100 E. 11th St., Tulsa, Oklahoma. GUSTAVO-MARTINEZ was the sole

occupant of the vehicle. During the traffic stop, the officer observed a plastic

wrapped bundle on the driver’s side floorboard of the vehicle, which he believed to

be an illegal substance in plain view, based on his training and experience. A

probable cause search of the vehicle revealed approximately one pound of a brick

of white substance believed to be powder cocaine in the vehicle. A field test was

later conducted and resulted presumptive positive for cocaine.        GUSTAVO-

MARTINEZ was arrested and booked into the Tulsa County Jail for state cocaine

trafficking charges without incident. It should be noted that at approximately

5:22 p.m., shortly before law enforcement pulled over GUSTAVO-MARTINEZ’s

vehicle, electronic surveillance showed PEREZ-CAMACHO’s Chevrolet Cruze

leaving the strip mall parking lot. Law enforcement observed the passenger of the

vehicle to be LOPEZ-CARREON. Though law enforcement was unable to see

the driver, I believe that person was PEREZ-CAMACHO given that

investigators had previously identified the black Chevrolet Cruze as belonging to

him and the GPS pings on his -9007 number showed it to be traveling with the

black Chevrolet Cruze.      Further, that PEREZ-CAMACHO and LOPEZ-

                                        9
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 12 of 91




CARREON had delivered the one pound of cocaine and received money for that

transaction was seemingly confirmed by the Indiana Ledgers. The ledgers note

that on April 22, 2021—two days after the deal—PEREZ-CAMACHO (“Alexis”)

turned in $18,000—consistent with the price of one pound of cocaine.




      12.   Roughly two weeks later, CARDENAS-LOZOYA, PEREZ-

CAMACHO, and LOPEZ-CARREON were involved in yet another deal in


                                      10
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 13 of 91




Tulsa. On May 4, 2021, at approximately 1:31 p.m., DEA Tulsa intercepted

the following conversation, in which I believe CARDENAS-LOZOYA and

PEREZ-CAMACHO, still using his -9007 number, discuss where they can

obtain a half-kilogram of cocaine to sell (Ref. # 2863).        During the call,

CARDENAS-LOZOYA asks PEREZ-CAMACHO about a “michelada,”

specifically, “How much are you going to let me have it for?”            PEREZ-

CAMACHO answers, “Look dude, you know that Chuy doesn’t give

‘micheladas’ to me. I don’t have any. I have only, only, only those, whole ones,

dude. And, and I was just asked one (1) for tomorrow and I can’t break it dude,

because Chuy doesn’t have anymore.” PEREZ-CAMACHO continues, “I’m

going to have to get it from Betillo. Betillo lets me have them for thirty-two

(32), dude. If not, you know that, that’s why I told you, if it was the whole ones,

I could lower it for you, dude. But, you know Chuy doesn’t do ‘micheladas,’

dude.” Based on my training, experience, and knowledge of the investigation,

I believe that in this phone call between PEREZ-CAMACHO and

CARDENAS-LOZOYA, the two are discussing the sale of a half a kilogram of

cocaine (a “michelada”). I believe that initially in the conversation PEREZ-

CAMACHO tells CARDENAS-LOZOYA that CHUY LNU does not allow his

kilograms to be broken into halves and they would have to use an alternate

source known as “Betillo” who would allow a half of a kilogram to be sold. I

also believe that when PEREZ-CAMACHO tells CARDENAS-LOZOYA that

                                        11
          Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 14 of 91




a “michelada” would be the “same as it was,” he was saying that the price of a

half of a kilogram of cocaine would be the same as it was during past drug

deals.

         13.   That same day, at approximately 2:37 p.m., CARDENAS-LOZOYA

again called PEREZ-CAMACHO at his -9007 number (Ref. # 2870) in an

apparent attempt to set up the deal for a half of a kilogram of cocaine, and the two

agreed to meet at 5:15 p.m. to 5:20 p.m.

         14.   Then, at approximately 3:18 p.m., CARDENAS-LOZOYA once again

called PEREZ-CAMACHO at his -9007 number (Ref. # 2875). During this call,

CARDENAS-LOZOYA said he would wait for PEREZ-CAMACHO at his house

at 5:10 (p.m.). PEREZ-CAMACHO asked if he meant at CARDENAS-LOZOYA’s

house, and CARDENAS-LOZOYA confirmed. CARDENAS-LOZOYA said it

would be great if PEREZ-CAMACHO arrived earlier because the guy was only

available until 5:10 (p.m.) and worked about 40 minutes away.

         15.   At approximately 4:45 p.m., law enforcement established physical

surveillance at CARDENAS-LOZOYA’s residence, located at 1666 S. Redbud Ave.,

Broken Arrow, Oklahoma. Upon arrival, law enforcement observed CARDENAS-

LOZOYA’s black Ford F-150, characterized by its wide off set rims and tires,

bearing a paper tag dated 04/20/2021, sitting in the driveway. At approximately

5:21 p.m., law enforcement observed a white Chevrolet Malibu, bearing an

Oklahoma paper tag dated 5/01/2021, arrive at CARDENAS-LOZOYA’s residence

                                        12
        Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 15 of 91




and park in the driveway. 4 Law enforcement observed PEREZ-CAMACHO exit

the front passenger seat of the white Malibu wearing a black shirt and black hat.

Additionally, law enforcement observed LOPEZ-CARREON exit the driver’s

seat of the white Malibu wearing a gray shirt and gray hat. PEREZ-CAMACHO

and LOPEZ-CARREON then entered CARDENAS-LOZOYA’s residence.

      16.     At approximately 5:23 p.m., CARDENAS-LOZOYA received a call

from M.G., who was using telephone number (918) 856-8287 and whom law

enforcement believes to be GUSTAVO-MARTINEZ’s cousin (Ref. # 2895). The

following is a transcript of the call.

      M.G.:                              What do you say?

      CARDENAS-LOZOYA:                   What do you say, man? Are you this guy’s
                                         relative, the one of the “gorditas?”

      M.G.:                              Yes. Yes. The cousin.

      CARDENAS-LOZOYA:                   Alright. Yes, yes, man. Perfect.

      M.G.:                              Yes. He (MARTINEZ) 5 told me to give you
                                         a call to see how we could get in
                                         agreement.

      CARDENAS-LOZOYA:                   Alright. No, well, let’s go there to, to… if
                                         you want… you know how there’s a place



4     The paper tag would later be replaced with a permanent license plate,
Oklahoma tag KZY364, which was registered to PEREZ-CAMACHO at 3706
S. Pennsylvania, Apartment # 213, Oklahoma City, OK 73119.
5       I believe that when M.G. said he had spoken with another person about
this meeting, he was referring to his cousin MARTINEZ—who bonded out of
jail following his April 20, 2021 arrest.
                                          13
      Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 16 of 91




                                  where they sell snacks by where this guy
                                  is?

     M.G.:                        Uh huh. Yes. Yes.

     CARDENAS-LOZOYA:             There, right there. I’ll head over.

     M.G.:                        Alright, then.

     CARDENAS-LOZOYA:             Alright then, man. I’ll, I’ll give you a call
                                  when . . .

     M.G.:                        Alright, I…

     CARDENAS-LOZOYA:             In how long will you arrive there?

     M.G.:                        I said that in about fifteen (15) or twenty
                                  (20), depending.

     CARDENAS-LOZOYA:             Oh . . .

     M.G.:                        I’m already on my way.

     CARDENAS-LOZOYA:             Alright, then. If you want, I’ll see you
                                  there in twenty (20) so we don’t bullshit.

     M.G.:                        Alright. Set.

     CARDENAS-LOZOYA:             Alright.

     17.     At approximately 5:45 p.m., CARDENAS-LOZOYA and M.G. again

spoke by phone (Ref. # 2897). CARDENAS-LOZOYA asked what kind of car M.G.

was driving. M.G. said a gray Nissan. Meanwhile, law enforcement observed

CARDENAS-LOZOYA, PEREZ-CAMACHO, and LOPEZ-CARREON exit

CARDENAS-LOZOYA’s residence. LOPEZ-CARREON then entered the driver’s

seat of the white Chevy Malibu. Law enforcement also observed CARDENAS-

LOZOYA enter the driver’s seat of his black Ford F-150 and PEREZ-CAMACHO


                                    14
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 17 of 91




enter the front passenger seat of the vehicle, carrying a small brown paper sack.

      18.   Subsequently, law enforcement established physical surveillance at

Snacks Morelos, located at 10915 E. 31st St., Tulsa, Oklahoma. At that time, law

enforcement observed a silver Nissan Altima bearing Oklahoma tag CLL810

parked in the parking lot.

      19.   At approximately 6:01 p.m., law enforcement observed the black Ford

F-150 and white Chevy Malibu arrive in the parking lot located at 10915 E. 31st

St. Upon arrival, law enforcement observed CARDENAS-LOZOYA park his black

Ford F-150 next to the silver Nissan Altima. At that time, CARDENAS-LOZOYA

exited the black Ford F-150 and placed an object into the front passenger seat of

the silver Nissan Altima. CARDENAS-LOZOYA proceeded to enter back into the

driver’s seat of the black Ford F-150 and drive around the parking lot multiple

times before eventually parking next to PEREZ-CAMACHO’s white Malibu.

      20.   Following the meeting with CARDENAS-LOZOYA, law enforcement

observed M.G. reposition the silver Nissan Altima in the parking lot. Law

enforcement observed M.G. exit the driver’s seat of the silver Nissan Altima and

place a brown paper sack in the trunk of the vehicle. Moments later, M.G. entered

back into the driver's seat of the silver Nissan Altima and departed from the area.

      21.   Based on my training, experience, and knowledge of this

investigation, I believe that the brown paper sack observed contained the half-

kilogram of cocaine (“michelada”) that M.G. was expecting and that PEREZ-

                                        15
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 18 of 91




CAMACHO and LOPEZ-CARREON brought the half-kilogram of cocaine from

Oklahoma City for CARDENAS-LOZOYA to complete the drug transaction with

M.G. I believe that once the transaction was complete, M.G. placed the brown

paper sack containing the cocaine in the trunk in order to hide the cocaine from

law enforcement should he be subject to a traffic stop.

      22.   Law enforcement in the Western District of Oklahoma would soon

obtain a Title III wiretap. On July 15, 2021, the Honorable Timothy D. DeGiusti,

United States Chief District Judge for the Western District of Oklahoma, signed

an Order pursuant to 18 U.S.C. § 2518, et seq. authorizing the interception of wire

and electronic communications over (213) 984-3355 (TT1), used by PEREZ-

CAMACHO.

      23.   As stated previously, PEREZ-CAMACHO was often tasked with

delivering kilogram-quantities of cocaine to out-of-state customers. One such trip

occurred on July 20, 2021, to LINCOLN in Arkansas. That day, the GPS ping on

TT16 and the GPS tracker on PEREZ-CAMACHO’s maroon Chrysler 2007




6    On July 8, 2021, United States Magistrate Judge Gary M. Purcell,
Western District of Oklahoma, granted the order authorizing the collection of
GPS ping data for TT1.
7      The maroon Chrysler 200, which bore Oklahoma license plate KZY895,
is registered to PEREZ-CAMACHO at 3706 S. Pennsylvania Ave., Apt. # 213,
Oklahoma City, Oklahoma. On July 16, 2021, United States Magistrate Judge
Gary M. Purcell, Western District of Oklahoma, authorized the installation
and monitoring of a GPS tracking device on this vehicle.

                                        16
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 19 of 91




showed him traveling directly from Oklahoma City to Benton, Arkansas. At

approximately 7:56 a.m., PEREZ-CAMACHO sent a text message to LINCOLN

at (432) 251-7467: “Can you send me the address bro” (TT1 Ref. # 240). LINCOLN

responded at approximately 8:53 a.m., “2498 pleasant Willow” (TT1 Ref. # 243).

The Chrysler 200 did not go to 2498 Pleasant Willow Dr., however; the GPS

tracker data placed it at 2484 Pleasant Willow Dr., where the garage door was

closed, and it appeared that LINCOLN had sent the incorrect address. And in

fact, law enforcement databases connected LINCOLN to the 2484 address, not

the 2498 address.     The two then continued to coordinate by phone.           At

approximately 9:24 a.m., PEREZ-CAMACHO placed a call to LINCOLN (TT1

Ref. # 248). LINCOLN tells PEREZ-CAMACHO, “I hear you. The things is out

there, bro. The rent.” PEREZ-CAMACHO responds, “Yeah, um, I’m here.”

LINCOLN then tells PEREZ-CAMACHO, “Yeah, go ahead and grab the rent

and do what you need to do.” Based on my training, experience, and knowledge of

the investigation, I believe LINCOLN was telling PEREZ-CAMACHO that the

bulk currency was in the garage (“out there”) and that he should proceed to access

the hidden compartment in his vehicle (“do what you need to do”) in order to get

the cocaine for the deal. It appears that PEREZ-CAMACHO did just this,

because he sent a text message at 9:39 a.m. to LINCOLN that read simply, “Done




                                       17
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 20 of 91




bro” (TT1 Ref. # 251).8

      24.   There apparently was an issue with LINCOLN’s payment, however,

because PEREZ-CAMACHO placed an outgoing call (TT1 Ref. # 255) to CHUY

LNU at 52-639-167-8513 at approximately 9:45 a.m. This call was intercepted in

Spanish and translated to English by DEA linguists.

      PEREZ-CAMACHO:                What, what’s up my Chuy? Listen, I’m
                                    here with the guy, um, he’s telling, telling
                                    me that he’s not going, he’s not going to
                                    take the money to, to…

      CHUY LNU:                     Well tell him that I was told…

      PEREZ-CAMACHO:                Excuse me, what did you say?

      CHUY LNU:                     Tell him… [Tell] him that the one I talk to,
                                    that’s how he told me, right.

      PEREZ-CAMACHO:                I did [tell him] that. That’s what, that’s
                                    what I told him. That I was told…


8      Intercepts and accompanying surveillance throughout the investigation
established that PEREZ-CAMACHO’s Chrysler 200 contains hidden
compartments. For example, in one phone call between JULIA and CHUY
LNU (TT2 Ref. # 165), JULIA tells CHUY LNU that the “devices” (kilograms
of cocaine) were filled with water. CHUY LNU tells her to ask PEREZ-
CAMACHO why “they” (the kilograms of cocaine) arrived wet, and CHUY
LNU goes on to say that he does not remember that “trap” very well, so
PEREZ-CAMACHO would have to explain how they could have gotten wet.
Similarly, PEREZ-CAMACHO and IVAN were intercepted over TT1 (TT1
Ref. # 629) discussing “loading five” into the vehicle at JULIA’s residence. The
fact that after this call PEREZ-CAMACHO then arrived to JULIA’s
residence in his Chrysler 200 and—as he always does—pulled into the garage
and shut the garage door behind him further corroborates law enforcement’s
belief that the vehicle contains hidden compartments used to transport drugs
and bulk currency.
                                      18
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 21 of 91




      CHUY LNU:                      Uh-huh.

      PEREZ-CAMACHO:                 … they told me…

      CHUY LNU:                      But look, [unintelligible].

      PEREZ-CAMACHO:                 I’m not, I’m not taking the money over
                                     there.

      CHUY LNU:                      But ask him, ask him what time, what
                                     time he will have the money tomorrow.

      PEREZ-CAMACHO:                 [Aside: Hey bro, what time are you going
                                     to have the money for tomorrow? In the
                                     morning? Like at what time? All right.]

                                     He said, said that about eight (8:00) or
                                     nine (9:00) tomorrow morning.

      CHUY LNU:                      Oh, no. Tell him, tell him that you will
                                     wait then.

PEREZ-CAMACHO continued, explaining that “[h]e gave me ninety-five”

($95,000) and that “tomorrow I will put up . . . I’m going to put up ninety-five”

($95,000). CHUY LNU then asked, “With the works?” PEREZ-CAMACHO

responded, “[i]n the meantime, I will put up the ninety-five ($95,000).” CHUY

LNU then instructs him to “put that up” and asks whether “he” (LINCOLN) was

going to give him the rest of the money later.” PEREZ-CAMACHO confirms,

saying that “he” (LINCOLN) would be giving him “one hundred” ($100,000) more.

PEREZ-CAMACHO stated he would be in contact, and the call concluded.

Shortly after this, law enforcement observed the Chrysler 200 pull out of the

garage at 2484 Willow Dr. They also observed LINCOLN leave the residence

                                       19
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 22 of 91




shortly thereafter.   That PEREZ-CAMACHO had delivered 6 kilograms of

cocaine and received approximately $195,000 from LINCOLN was confirmed by

the Indiana Ledgers.     One page from the ledgers confirms that PEREZ-

CAMACHO was given “6” on July 19, 2021.




Moreover, another page confirmed that PEREZ-CAMACHO delivered $194,970

to JULIA on July 21, 2021.

                                    20
          Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 23 of 91




         25.   In fact, it appears this was not the first time that PEREZ-

CAMACHO had delivered 6 kilograms of cocaine to LINCOLN in Arkansas. For

example, another page from the ledgers notes that PEREZ-CAMACHO received

“6 F” for Arkansas around June 16, 2021. As described herein, this organization

has sometimes referred to kilograms of cocaine as las finas, Spanish for the “fine

ones.”     I believe that the ledgers therefore show that PEREZ-CAMACHO

received six finas, i.e., six kilograms of cocaine, on June 16, 2021, that he

                                       21
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 24 of 91




ultimately delivered to LINCOLN in Arkansas.




Furthermore, I believe that the six kilograms of cocaine were ultimately delivered

to LINCOLN on June 18, 2021, because toll data on TT1 shows that PEREZ-

CAMACHO was in contact with LINCOLN’s -7467 number 16 times between

June 16 and June 18, 2021. The Indiana Ledgers also show that while PEREZ-

CAMACHO was in Arkansas on June 18, 2021, he purchased car ramps for $44

from a Walmart in Fort Smith. And it also appears that the $44 was then

subtracted from the $100,000 that LINCOLN paid PEREZ-CAMACHO. As

explained infra, those car ramps appear to be helpful in unloading cocaine from

the hidden compartment contained in the Chrysler 200.




                                       22
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 25 of 91




      26.   PEREZ-CAMACHO would soon make yet another cocaine delivery,

this time for five kilograms to THOMAS in Minnesota on July 26, 2021. First,

however, PEREZ-CAMACHO had to ensure the cocaine was loaded into his

vehicle for the cross-country trek. The coordination for that began on July 25,


                                      23
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 26 of 91




2021, when PEREZ-CAMACHO received an incoming call from IVAN, using

(405) 625-9052, at approximately 3:07 p.m. (TT1 Ref. # 629). During this call,

PEREZ-CAMACHO and IVAN confirm that they have both spoken to “Jesus.”

(Because “Chuy” is a common moniker for “Jesus,” I believe the two were referring

to CHUY LNU.) PEREZ-CAMACHO then asks IVAN, “Should we load it now?”

IVAN asks PEREZ-CAMACHO to confirm, and PEREZ-CAMACHO once

again asks, “Should we load now or should I go to Aaron’s?” As the conversation

continues, both individuals confirm that “five” will be loaded. Based on my

training, experience, and knowledge of the investigation, I believe that they are

discussing loading five kilograms of cocaine into the hidden compartment in

PEREZ-CAMACHO’s Chrysler 200—cocaine which was being kept at the

Indiana Residence. As explained below, it appears that the two individuals did in

fact load the cocaine later that day.

      27.    But before they loaded the cocaine, on July 25 at 3:48 p.m., there was

a follow-up call from AARON, using phone number (405) 625-6871, to PEREZ-

CAMACHO discussing the deal (TT1 Ref. # 637). During the call, PEREZ-

CAMACHO asks AARON if IVAN has called him, explaining that he (PEREZ-

CAMACHO) needs “five (5) of the cars.”            AARON then tells PEREZ-

CAMACHO, “my mom and I just left dude, since we thought there would not be

anything.” PEREZ-CAMACHO then tells AARON, “At around five (5:00) or six

(6:00), once you get back, give me a little call. It’s no, no, no problem.” AARON

                                        24
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 27 of 91




agrees, and the two refer to each other as “cousin” before the call concludes. Based

on my training, experience, and knowledge of the investigation, I believe that

PEREZ-CAMACHO is referring to five kilograms of cocaine when he says “five

of the cars.”9 AARON also states that he just went to the mall with his mother.

And in fact, not long after, law enforcement observed AARON and JULIA leave

the outlet malls located at I-40 and Council Rd. and return to the Indiana

Residence. And shortly after this—just as PEREZ-CAMACHO and IVAN had

discussed—investigators observed PEREZ-CAMACHO arrive at the Indiana

Residence, pull his vehicle into the garage and shut the garage door behind him.

      28.   It was soon evident why PEREZ-CAMACHO needed to obtain the

five kilograms of cocaine: he had a customer (THOMAS) waiting in Minnesota for

a delivery the next day, July 26. At approximately 3:29 a.m. on July 26, the

tracker on PEREZ-CAMACHO’s Chrysler 200 showed it leaving his apartment

located at 3706 S. Pennsylvania Ave. and begin traveling northbound out of

Oklahoma City. By approximately 5:07 p.m. the tracker showed the Chrysler 200

in Minneapolis, Minnesota, where local law enforcement was able to conduct

physical surveillance on the vehicle. Law enforcement did not intercept any


9      Throughout wire intercepts, PEREZ-CAMACHO has used the word
“car” to refer to what law enforcement believes is a kilogram of cocaine. As for
PEREZ-CAMACHO’s and AARON’s use of the word “cousin,” it appears that
PEREZ-CAMACHO is IVAN’s and AARON’s cousin, which would be
consistent with PEREZ-CAMACHO’s regular references to JULIA as his
“aunt” during intercepted calls.
                                        25
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 28 of 91




communications over TT1 coordinating with the customer in Minnesota. The

WhatsApp pen register on TT1, however, showed several messages prior to 6:00

p.m. with the phone number (612) 701-8544—which law enforcement databases

connect to THOMAS. Upon PEREZ-CAMACHO’s arrival to the apartment

complex at 2323 26th Ave. N. Minneapolis, Minnesota, PEREZ-CAMACHO’s

Chrysler 200 and a Chevy Tahoe—bearing Minnesota license plate EFE4399, also

registered to THOMAS—drove in tandem to the apartment complex’s

underground parking garage.

      29.   Not quite an hour later, at approximately 5:59 p.m., PEREZ-

CAMACHO placed an outgoing call using TT1 (TT1 Ref. # 712) to CHUY LNU at

his -8513 number, the purpose of which was to confirm that he had delivered the

five kilograms of cocaine to the customer in Minneapolis. The call begins with

PEREZ-CAMACHO first advising CHUY LNU that he gave “everything” (i.e.,

the five kilograms of cocaine loaded into the Chrysler 200 the day prior) to the

“black guy” (THOMAS) and that he was going to rent a room. CHUY LNU then

tells PEREZ-CAMACHO, “[y]es, yes, look. Rest because it’s, it’s convenient . . .

it’s convenient for them to give us whatever they are going to give us, because if

not . . . it’s going to be a wasted trip.” Based on my training, experience, and

knowledge of the investigation, I believe that in this call, CHUY LNU was

directing PEREZ-CAMACHO to wait to receive payment from THOMAS.

CHUY LNU then tells PEREZ-CAMACHO that he needed him to continue his

                                       26
        Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 29 of 91




trip early the next morning to either Columbus, Ohio, or Burlington, North

Carolina, to collect an additional amount of bulk cash to be returned. PEREZ-

CAMACHO agrees and asks CHUY LNU to confirm the location once he is sure.

CHUY LNU then asks if it was “six”? PEREZ-CAMACHO corrects him and

states that was “five,” explaining that “Ivan only put five in there.”

      30.    That PEREZ-CAMACHO had in fact delivered five kilograms to

THOMAS was confirmed the next day, July 27. That day, law enforcement

witnessed an unidentified male arrive at THOMAS’s apartment, stay for a short

time, and then leave. Law enforcement then executed a search warrant on

THOMAS’s apartment—where they identified the resident as THOMAS—and

located four kilograms of cocaine and approximately $10,000 in U.S. currency.

THOMAS appears to have sold one kilogram to the unidentified male prior to

execution of the search warrant. Further, the Indiana Ledgers corroborated that

PEREZ-CAMACHO had been given five kilograms of cocaine on July 25 to

deliver to THOMAS. They indicate that PEREZ-CAMACHO was given “5 F”

(five finas), i.e., five kilograms of cocaine, for Minnesota on July 25, 2021.




                                         27
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 30 of 91




      31.   Law enforcement continued to monitor PEREZ-CAMACHO’s

movements after leaving Minnesota. On July 28, at approximately 1:21 a.m., the

GPS ping on TT1 placed PEREZ-CAMACHO near a Motel 6 in Burlington, North

Carolina—just as PEREZ-CAMACHO and CHUY LNU had discussed during

their July 26 call (TT1 Ref. # 712). Later that morning, at approximately 10:34

a.m., PEREZ-CAMACHO placed an outgoing call (TT1 Ref. # 823) to CHUY

LNU at 52-639-167-8513 in order to confirm that he had picked up bulk cash. At

the beginning of this call, PEREZ-CAMACHO tells CHUY LNU, “I already met

with this guy.” PEREZ-CAMACHO then confirms with CHUY LNU that it was

“one hundred forty-five.” Investigators believe PEREZ-CAMACHO is referring

to $145,000, based on CHUY LNU previously instructing PEREZ-CAMACHO—

while he was still in Minnesota—that he would be collecting additional bulk cash

in either Columbus, Ohio, or Burlington, North Carolina. Later on in the call,

PEREZ-CAMACHO tells CHUY LNU, “[I]’m just going to buy the ramps, and

then I’m going, I’m going to head over there. I will let you know once everything is

                                        28
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 31 of 91




put up, if you want?”    Law enforcement was then able to conduct physical

surveillance on PEREZ-CAMACHO as he went to a nearby auto parts store. As

stated previously, I believe that PEREZ-CAMACHO used these ramps to prop

up the Chrysler 200 in order to access the vehicle’s hidden compartment, this time

to load the $145,000 he had received from his co-conspirator in Burlington, North

Carolina.

      32.   PEREZ-CAMACHO, however, did not make this trip to Minnesota

and North Carolina by himself. DOMINGUEZ had traveled with PEREZ-

CAMACHO. In fact, law enforcement captured photos of both individuals at a

Motel 6, located at 978 Plantation Dr., Burlington, North Carolina. It appears

that the $145,000 collected by the two individuals in North Carolina was then

delivered to JULIA on July 29, 2021, as the Indiana Ledges reflect PEREZ-

CAMACHO deposited “145K”—or $145,000 with JULIA.




      33.   These trips were not out of the ordinary for PEREZ-CAMACHO. In

                                       29
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 32 of 91




fact, during a call on July 30, 2021, PEREZ-CAMACHO discussed all of his

recent drug deliveries with CHUY LNU. That day, at approximately 9:57 a.m.,

PEREZ-CAMACHO placed an outgoing call (TT1 Ref. # 975) to CHUY LNU at

his -8513 number. During this call PEREZ-CAMACHO and CHUY LNU review

the sales from PEREZ-CAMACHO’s trips. At the beginning of this conversation

CHUY LNU asks PEREZ-CAMACHO to report the numbers that PEREZ-

CAMACHO has calculated for himself. PEREZ-CAMACHO begins by listing

for CHUY LNU the trips that he has already been paid for, explaining that he had

already been paid “seventeen bucks” ($17,000) for the trips he made to Memphis,

Little Rock, Amarillo, and Ohio. PEREZ-CAMACHO continues, stating, “I said,

the, the first trip, the first trip was six (6), six (6) Memphis, right?” Later in the

conversation, PEREZ-CAMACHO tells CHUY LNU, “Yes, and then six (6) to

Arkansas. Four (4) to Amarillo. Six (6) Ohio.” Based on my training, experience,

and knowledge of this investigation, I believe PEREZ-CAMACHO is confirming

with CHUY LNU that he took six kilograms of cocaine to Memphis, six kilograms

of cocaine to Arkansas, four kilograms of cocaine to Amarillo, and six kilograms of

cocaine to Ohio.

      34.    The July 30 call (TT1 Ref. # 975), however, was not over, as PEREZ-

CAMACHO and CHUY LNU then discussed the trips that PEREZ-CAMACHO

had not been paid for.



                                         30
Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 33 of 91




PEREZ-CAMACHO:              And then, well the ones that are pending
                            are six (6) Arkansas.

CHUY LNU:                   Arkansas?

PEREZ-CAMACHO:              Uh-huh. Six (6) Ohio.

CHUY LNU:                   Who did you go to in Arkansas? Do you
                            remember?

PEREZ-CAMACHO:              I’m sorry, what?

CHUY LNU:                   Who did you go to in Arkansas? Do you
                            remember?

PEREZ-CAMACHO:              The black guy.

CHUY LNU:                   Oh, yes, yes.

PEREZ-CAMACHO:              Yes, yes, yes.

CHUY LNU:                   I have, I put “Little” [PH] on there. The
                            name is “Little” [PH], no?

PEREZ-CAMACHO:              Yes, yes. That’s it sir, that’s it. It’s Little
                            Rock.

CHUY LNU:                   It’s Little Rock?

PEREZ-CAMACHO:              Uh-huh, yes.

CHUY LNU:                   Go ahead, what else?

PEREZ-CAMACHO:              And then six (6), uh, six (6) Ohio.

CHUY LNU:                   Six in (6) Ohio?

PEREZ-CAMACHO:              Uh-huh, and then again. Six (6) Ohio. Six
                            (6) Columbus, Ohio.

CHUY LNU:                   Correct.

                              31
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 34 of 91




      PEREZ-CAMACHO:                  Uh-huh, and then again, uh, six (6)
                                      Memphis.

      CHUY LNU:                       Memphis?

      PEREZ-CAMACHO:                  Uh-huh… and then again, six (6)
                                      Memphis.

      CHUY LNU:                       Memphis, yes.

All of these trips, the quantities of drugs delivered, and the fact that PEREZ-

CAMACHO had been paid $17,000 for his first four trips, were ultimately

corroborated by the Indiana Ledgers.




      35.   Finally, in the latter part of the July 30 call (TT1 Ref. # 975), PEREZ-

CAMACHO states that he delivered another “six (6) Arkansas, uh, to Little Rock.”

                                        32
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 35 of 91




He then references his five-kilogram delivery to Minnesota, as well as the fact that

law enforcement ultimately seized cocaine from THOMAS, along with the fact

that he had in fact picked up $145,000 in Burlington, North Carolina:

      PEREZ-CAMACHO:                  Uh-huh, and then five (5) Minnesota.
                                      There, I don’t know how you are, I, I, I
                                      don’t know what, my Chuy I don’t know if
                                      with the problem there was, I don’t know.
                                      I couldn’t do anything about that, I don’t
                                      know, right? I don’t know if…

      CHUY LNU:                       Okay.

      PEREZ-CAMACHO:                  Uh, and then it was the one hundred forty-
                                      five (145) of the, of the money pick up. I
                                      don’t know what’s up with that either
                                      what’s up.

      CHUY LNU:                       Of the what?

      PEREZ-CAMACHO:                  Of the, of the money pick up from over
                                      there, from Burlington. Where I went, to,
                                      to North Carolina.

Based on my training, experience, and knowledge of this investigation—

derived from GPS tracker data on TT1, PEREZ-CAMACHO’s Chrysler 200,

the intercepted calls, and the Indiana Ledgers—I believe that PEREZ-

CAMACHO, along with DOMINGUEZ, at the behest of CHUY LNU, had

traveled to Arkansas, North Carolina, Ohio, Memphis, and Minnesota to

distribute cocaine and/or collect proceeds from previous drug deals.

      36.   As previously stated, the DTO did not solely traffic cocaine; it also

trafficked methamphetamine. For example, in August of 2021, a confidential

                                        33
        Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 36 of 91




human source (CS1) placed an undercover officer (UC1) in contact with H.A., a

methamphetamine source, via phone. On August 11, 2021, UC1 contacted H.A.

to inquire about purchasing one kilogram of methamphetamine from H.A. H.A.

advised UC1 that his (H.A’s) buddy was busy at the moment but he (H.A.) would

call UC1 back.

       37.   Shortly after, H.A. contacted UC1 and advised that H.A.’s buddy

would be available to conduct the one-kilogram deal between 5 and 6 p.m. that

day.   UC1 then provided H.A. with a pre-determined meeting location in

Oklahoma City.

       38.   Law enforcement then established surveillance in the vicinity of the

pre-determined meeting location in anticipation of the meeting with H.A.’s

methamphetamine contact. While en route to the pre-determined meeting

location, H.A. contacted UC1 and informed him that H.A.’s buddy would be

driving a Dodge or a sedan.

       39.   Subsequent to arriving at the parking lot of the pre-determined

meeting location, UC1 observed IVAN’s dark colored Dodge Ram truck bearing

Oklahoma license plate KEV839 behind his vehicle. After UC1 parked his/her

vehicle, the Dodge Ram then parked next to UC1’s vehicle. IVAN then exited the

front driver’s seat of the Dodge Ram and entered the front passenger seat of UC1’s

vehicle.

       40.   While inside UC1’s vehicle, IVAN handed UC1 a plastic bag

                                       34
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 37 of 91




containing what appeared to be one kilogram of methamphetamine, and UC1

provided $5,200 to IVAN as payment. IVAN then counted the money and exited

the vehicle. Following the deal, the contents of the plastic bag that IVAN had

provided to UC1 field tested positive for methamphetamine and weighed

approximately 1,304.5 gross grams. Law enforcement then followed IVAN back

to the Indiana Residence, where it appears JULIA documented the deal in her

ledgers. Throughout this investigation, members of the DTO have referred to

kilograms of methamphetamine as “aguas.” According to the ledger, specifically a

page marked “aguas,” one “agua” (i.e., one kilogram of methamphetamine) was

sold on August 11 for $5,200, which I believe refers to the controlled buy involving

IVAN described above.




      41.   Two days after this controlled buy, law enforcement obtained another

wiretap. On August 13, 2021, the Honorable Timothy D. DeGiusti, United States


                                        35
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 38 of 91




Chief District Judge for the Western District of Oklahoma, signed an order

pursuant to 18 U.S.C. § 2518, et seq. authorizing the continued interception of wire

communications over (213) 984-3355 (TT1), used by PEREZ-CAMACHO, and

the initial interception of wire and electronic communications over (405) 625-9026

(TT2), used by JULIA. Interception began on August 13, 2021, and terminated

on September 3, 2021.

      42.    On August 17, 2021, at approximately 4:22 p.m., PEREZ-

CAMACHO, using TT1, received a call from JULIA, who was using TT2 (TT1

Ref. # 2233) (TT2 Ref. #36). The call pertained to two upcoming deliveries that

PEREZ-CAMACHO would make in northern Mississippi, just south of Memphis,

to OMAR-MERAZ and LOYA-NAJERA.

      43.    JULIA begins the conversation by asking when he (PEREZ-

CAMACHO) had gone to Columbus (Ohio). PEREZ-CAMACHO tells her it was

on Monday.     JULIA then asks, “Did you take the last six (6)?”          PEREZ-

CAMACHO responds by saying he (PEREZ-CAMACHO) will take them

tomorrow. JULIA then tries to clarify by asking, “You (PEREZ-CAMACHO)

have them right?” PEREZ-CAMACHO responds by saying “Yes.” JULIA then

asks PEREZ-CAMACHO where he (PEREZ-CAMACHO) will be taking them

tomorrow. PEREZ-CAMACHO says Memphis. JULIA responds by saying she

does not have a date for those. The call concludes with PEREZ-CAMACHO

confirming that he will be leaving tomorrow. Based on my training, experience,

                                        36
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 39 of 91




and knowledge of the investigation, I believe that JULIA placed this call to

PEREZ-CAMACHO to ask him if he had taken the remaining six kilograms of

cocaine from her residence. When PEREZ-CAMACHO says yes, JULIA wants

to know where he will be taking them, and PEREZ-CAMACHO tells her

Memphis. I believe that PEREZ-CAMACHO had taken the remaining six

kilograms of cocaine so that he could make deliveries to two different customers,

OMAR-MERAZ and LOYA-NAJERA, the next day, August 18. And indeed, the

following morning, August 18, 2021, at approximately 2:07 a.m., the tracker

affixed to the Chrysler 200 showed PEREZ-CAMACHO leaving the Oklahoma

City area and driving east until he arrived in the area of Memphis, Tennessee, at

approximately 10:50 a.m.

      44.   Shortly after arriving in the Memphis area, on August 18, 2021, at

approximately 10:56 a.m., PEREZ-CAMACHO, using TT1, placed an outgoing

call to (901) 848-0057, a number later identified as belonging to OMAR-MERAZ

(TT1 Ref. # 2279). I believe PEREZ-CAMACHO made the call to alert OMAR-

MERAZ that he had arrived. OMAR-MERAZ begins the conversation by telling

PEREZ-CAMACHO, “Hey, it’s going to be an Altima.” OMAR-MERAZ then

asks, “What are you in?” PEREZ-CAMACHO replies, “In the, in the same one

as last time, sir. A small maroon one.” OMAR-MERAZ then asks, “Maroon?”

PEREZ-CAMACHO responds by saying, “Yes, a small maroon one.” OMAR-

MERAZ then asks PEREZ-CAMACHO if that is him. PEREZ-CAMACHO

                                       37
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 40 of 91




confirms. At the time of this meeting, law enforcement had established

surveillance at the La Siesta restaurant at 64 W. Commerce St., Hernando,

Mississippi (located about 30 minutes south of Memphis), and observed OMAR-

MERAZ approach the Chrysler 200 and speak with PEREZ-CAMACHO. Also

at this location, law enforcement observed a tan Nissan bearing Mississippi

license plate DAU-5727.10 Based on my training, experience, and knowledge of

the investigation, I believe that in the above call, PEREZ-CAMACHO and

OMAR-MERAZ coordinated their imminent cocaine deal, with PEREZ-

CAMACHO telling OMAR-MEREZ that he would be in his maroon car (the

Chrysler 200), just like the previous time, and OMAR-MEREZ stating he would

be in the Altima.

      45.   Law enforcement then observed PEREZ-CAMACHO and OMAR-

MERAZ depart the La Siesta restaurant and drive to AutoZone Auto Parts,

located at 2450 Mt. Pleasant Road, Hernando, Mississippi. Next, law enforcement

observed PEREZ-CAMACHO and OMAR-MERAZ leave the AutoZone parking

lot in tandem. Law enforcement then followed PEREZ-CAMACHO and OMAR-

MERAZ to a residence at 3525 Bluff Road, Hernando, Mississippi.

      46.   At approximately 11:30 a.m., law enforcement conducted a drive by


10   The vehicle registers to OMAR-MERAZ at 2525 Old Airways Roads,
Southaven Mississippi. Photographs of OMAR-MERAZ from law enforcement
databases confirm this was the same individual who met with PEREZ-
CAMACHO.

                                      38
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 41 of 91




of the residence at 3525 Bluff Road and observed a Hispanic male under PEREZ-

CAMACHO’s Chrysler 200. As stated, law enforcement believes that PEREZ-

CAMACHO’s Chrysler 200 contains a hidden compartment that he uses to

transport drugs and money, and it appeared that the Hispanic male was

attempting to access it. Due to the location of the house, law enforcement was not

able to maintain surveillance on PEREZ-CAMACHO the entire time he was at

the residence. Moments later, however, law enforcement observed PEREZ-

CAMACHO depart the residence.          Based on my training, experience and

knowledge with the investigation, I believe the Hispanic male was removing drugs

from the hidden compartment of PEREZ-CAMACHO’s Chrysler and that

PEREZ-CAMACHO delivered three kilograms of cocaine to OMAR-MERAZ.

As for why I believe that PEREZ-CAMACHO delivered three kilograms to

OMAR-MERAZ, the intercepted call described above with JULIA (TT1 Ref. #

2233) (TT2 Ref. # 36) from the night before established that PEREZ-CAMACHO

would be transporting six kilograms of cocaine to the Memphis area. The next

day, at approximately 11:06 p.m.—while PEREZ-CAMACHO was still with

OMAR-MERAZ—PEREZ-CAMACHO received a call on TT1 from LOYA-

NAJERA, who was using telephone number (901) 314-5817 (TT1 Ref. # 2280).

During the call, PEREZ-CAMAHO tells LOYA-NAJERA that he had just

arrived to see “the other guy,” and that he would be seeing LOYA-NAJERA “more

or less . . . like in an hour.” A few moments later in the call, LOYA-NAJERA

                                       39
         Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 42 of 91




clarifies that “it’s three,” which I believe referred to three kilograms of cocaine that

he would be receiving from PEREZ-CAMACHO.

        47.   At approximately 1:02 p.m., still on August 18, 2021, PEREZ-

CAMACHO, using TT1, placed an outgoing call to LOYA-NAJERA at his -5817

number (TT1 Ref. # 2287). PEREZ-CAMACHO and LOYA-NAJERA began the

conversation by greeting one another. PEREZ-CAMACHO then says, “Listen,

I’m here entering.” LOYA-NAJERA responds by saying “Is it some trailers?”

PEREZ-CAMACHO replies, “yes.”               LOYA-NAJERA continues, “Number

fifteen.” LOYA-NAJERA then goes on to say his (LOYA-NAJERA) car and

truck are going to be there. LOYA-NAJERA says, “It’s a white one and a red

car.” PEREZ-CAMACHO responds by saying that he is “coming down.” LOYA-

NAJERA responds, “Yeah. A white truck.” PEREZ-CAMACHO and LOYA-

NAJERA say alright and the call ends. Based on my training, experience, and

knowledge of the investigation, I believe that in the above call PEREZ-

CAMACHO and LOYA-NAJERA were coordinating for their imminent drug

deal.

        48.   About three minutes later, at approximately 1:05 p.m., PEREZ-

CAMACHO, using TT1, again placed an outgoing call to LOYA-NAJERA at his

-5817 number to continue coordinating the meeting (TT1 Ref. # 2288). LOYA-

NAJERA begins the conversation by stating, “Park, park, park, right there. Park

right there.” PEREZ-CAMACHO responds by saying “Uh. Alright, all set. I’m

                                          40
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 43 of 91




entering here.” LOYA-NAJERA replies, “Come, come here, come here inside.”

Both parties agree and the call ends.

      49.   Law enforcement had maintained surveillance on PEREZ-

CAMACHO after he left his earlier meeting with OMAR-MERAZ in Hernando,

Mississippi. PEREZ-CAMACHO then traveled to 256 Campground Dr., located

in Coldwater, Mississippi.     At the campground, law enforcement observed

PEREZ-CAMACHO’s Chrysler 200, a white Dodge Ram 3500, a maroon Dodge

Dart, and White Sportsmaster Camper with teal lettering. The Tennessee license

plate on the maroon Dodge Dart—QBLZQ5K—registers to LOYA-NAJERA.

Law enforcement then observed LOYA-NAJERA open his trunk and obtain a

pair of vehicle ramps at approximately 1:16 p.m. 11 LOYA-NAJERA then placed

the ramps in front of PEREZ-CAMACHO’s Chrysler 200 before the vehicle was

pulled onto the ramps. Law enforcement next observed the individuals remove

parts of the front passenger-side tire area of the Chrysler 200. Shortly after, law

enforcement observed the individuals carry packages to the camper. A short time

later, PEREZ-CAMACHO and LOYA-NAJERA departed the campground.

Based on my training, experience, and knowledge of the investigation, I believe

that LOYA-NAJERA and PEREZ-CAMACHO pulled the Chrysler 200 onto the




11    Law enforcement was able to confirm that the individual who retrieved
the ramps from the Dodge Dart was in fact LOYA-NAJERA by comparing this
individual to LOYA-NAJERA’s photograph from law enforcement databases.
                                        41
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 44 of 91




ramps in order to access the hidden compartment containing the kilograms of

cocaine, and that once the kilograms of cocaine were removed from the vehicle the

above individuals carried the packages into the camper.

      50.   PEREZ-CAMACHO, however, was not the only one delivering

cocaine for the DTO.     On August 20, 2021, JULIA provided LOPEZ two

kilograms of cocaine and received $64,000 from LOPEZ for two kilograms of

cocaine and a kilogram of methamphetamine that he had previously purchased.

That day, at approximately 12:26 p.m., law enforcement observed LOPEZ arrive

at the Indiana Residence in his 2020 Chevrolet Silverado, exit his vehicle, and

enter the Indiana Residence carrying a backpack. Soon thereafter, at 12:47 p.m.,

law enforcement observed LOPEZ exit the residence with his backpack, enter his

vehicle, and depart the residence.

      51.   That JULIA had delivered two kilograms of cocaine to LOPEZ and

received $64,000 for a previous payment was corroborated by a call she made soon

after LOPEZ left the Indiana Residence. At approximately 1:47 p.m., JULIA

used TT2 to place a call to CHUY LNU at 52-639-167-8513 (TT2 Ref. # 84). During

the call, JULIA tells CHUY LNU, “Mono brought me sixty [for] two fine ones” and

“four thousand for a water.” She also added, “And I gave him two fine ones.” The

Indiana Ledgers also confirm that on August 20 LOPEZ (“Mono”) paid JULIA

the $64,000 that he owed from a previous drug transaction. Consistent with the

call described above, the ledgers note that “Mono” (LOPEZ) paid “60K” ($60,000)

                                       42
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 45 of 91




for “2 F” (two finas, or kilograms of cocaine) and “4K” ($4,000) for “1 A” (one agua,

or one kilogram of methamphetamine). The ledgers also note that JULIA gave

LOPEZ an additional “2 F” (two kilograms of cocaine) on August 20.




      52.    As discussed, JULIA was entrusted by the DTO to maintain its

reserves of bulk cash before that cash was transported out of Oklahoma and

smuggled to Mexico—often times with the help of ROY. In fact, the Indiana

Ledgers suggest that drug proceeds were regularly deposited with ROY. One

entry, for example, from April 22, 2021, shows that “105”—which I believe

corresponds to $105,000—was deposited with ROY.




                                         43
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 46 of 91




A separate entry, this time from June 18, 2021, shows that the DTO deposited

“202.076”—which I believe corresponds to $202,076—with ROY.




                                    44
        Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 47 of 91




       53.    And while the investigation established that ROY was distributing

drugs for the DTO, his role as a money courier was on full display in the aftermath

of a significant money seizure from the DTO that occurred on August 19, 2021.

That day, law enforcement observed JULIA deliver a cardboard box to a money

courier for the DTO at the 49th St. Residence. Following the money courier’s

departure from the 49th St. Residence, law enforcement conducted a traffic stop

on the courier’s vehicle and deployed a state-certified canine to perform a free air

sniff of the vehicle.    Once the canine alerted, law enforcement conducted a

probable cause search of the vehicle and recovered the cardboard box delivered by

JULIA, which contained $327,270.00.

       54.    The next day, August 20, 2021, was when CHUY LNU, using his -

8513 number, placed the call described above to JULIA at TT2 (TT2 Ref. # 84),

during which JULIA stated LOPEZ had just given her $64,000. In that call,

JULIA asks, “so should I give that to Roy or should I leave it here?” CHUY LNU

then tells her, “Yes, yes, yes, he should bring at least that . . . at least send. . . sixty

(60).” JULIA then clarifies that she has “sixty-six” because “one thousand nine

hundred” has already been “packaged.” CHUY LNU then tells her, “Send, send

everything please.” The call concludes shortly after. Based on my training,

experience, and knowledge of the investigation, I believe that CHUY LNU was

directing JULIA to deposit approximately $66,000 with ROY, which included the


                                            45
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 48 of 91




$64,000 that LOPEZ had just brought JULIA, along with the $1,900 that she

had already packaged.     This money handoff, of course, was of heightened

importance at the time because the organization had just had $327,270 seized by

law enforcement. Moreover, that JULIA planned to deposit the money with ROY

was further corroborated in a call shortly after. At approximately 2:00 p.m.,

JULIA used TT2 to place an outgoing call to IVAN, at (405) 625-9052 (TT2 Ref. #

86). During the call, JULIA states, “I’m going to prepare what, what Mono gave

me so Roy can take it.”

      55.   Next, just as CHUY LNU had directed JULIA, JULIA delivered the

money to ROY. Law enforcement observed JULIA drive her Chevrolet Cruze to

3701 S. May Ave., Oklahoma City. In the parking lot of this location, law

enforcement observed two other vehicles: a dark colored Jeep Grand Cherokee,

bearing Oklahoma license plate SRT-ROY—which is registered to ROY at 3044

SW 41st St., Oklahoma City—as well as a different Jeep Grand Cherokee bearing

Oklahoma license plate KEV-820, which law enforcement has identified as

belonging to SOTO. At approximately 3:44 p.m., law enforcement observed ROY

approach JULIA’s Chevrolet Cruze and retrieve a bright green box. ROY then

proceeded to carry the box to his vehicle before entering the front passenger seat

of SOTO’s vehicle. Based on my training, experience, and knowledge of the

investigation, I believe that JULIA met with ROY to deliver the approximately

$66,000 dollars, which was contained in the bright green box. I also believe that

                                       46
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 49 of 91




SOTO was present at the deal.

      56.    Eight days later, on August 28, 2021, JULIA delivered two kilograms

of cocaine to a different Oklahoma-based customer—SOTO. Coordination for the

deal began that day, August 28, at approximately 2:39 p.m., when JULIA received

an incoming call from CHUY LNU at approximately 2:39 p.m. (TT2 Ref. # 186).

During the call, CHUY LNU asks JULIA how many “fine ones” she has left.

JULIA responds that she has three left. CHUY LNU then tells JULIA, “Give two

fine ones…to El Güero.” JULIA responds, “Okay. Two fine ones to El Güero.”

CHUY LNU confirms, and JULIA adds, “So we’re going to have one left.” JULIA

then asks, “Okay. And when will they be getting here? CHUY LNU responds, “by

Wednesday, I think.” Based on my training, experience and knowledge of this

investigation I believe that during this call, CHUY LNU was instructing JULIA

to give two kilograms of cocaine to “El Güero” (SOTO). JULIA notes that after

she delivers those two kilograms of cocaine to El Güero (SOTO), the DTO will

have one kilogram of cocaine remaining. CHUY LNU then advises her that an

additional shipment of cocaine would be arriving on Wednesday.

      57.    Immediately after this call, at approximately 2:44 p.m., JULIA used

TT2 to place an outgoing to SOTO at (405) 696-2063 12 (TT2 Ref. # 187). The

following is a verbatim transcript of the call.


12    This telephone number is registered to SOTO at 3706 S. Pennsylvania
Ave., Oklahoma City—the address of PEREZ-CAMACHO’s apartment.
                                         47
      Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 50 of 91




     SOTO:                        Hello? Hello?

     JULIA:                       What’s the word, Güero? How are you?

     SOTO:                        All good, good, and you?

     JULIA:                       Well, fine thank God. Are you at home?

     SOTO:                        Yes, ma’am.

     JULIA:                       Okay. He told me to take you two (2).

     SOTO:                        Yes.

     JULIA:                       Okay.

     SOTO:                        Okay, all set. In about how much time will
                                  you be here?

     JULIA:                       Eh…well, just as long as it takes me.
                                  About ten (10), five (5) minutes.

     SOTO:                        Okay, all set.

     JULIA:                       Okay, then. Bye.

     SOTO:                        Make it the good kind okay?

     JULIA:                       All set.

     SOTO:                        Alright, then.

     JULIA:                       Bye.

Based on my training and experience and knowledge of this investigation, I

believe JULIA made this call to SOTO to coordinate the delivery of the two

kilograms of cocaine to SOTO, as instructed by CHUY LNU.           Next, at

approximately 2:56 p.m., the pole cam positioned at the Indiana Residence

                                    48
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 51 of 91




captured JULIA leaving the residence in her other vehicle, a white GMC

bearing Oklahoma license plate KEV071. 13 Based on my training, experience,

and knowledge of the investigation, I believe that JULIA made this trip to

deliver the two kilograms of cocaine to SOTO.

      58.   SOTO would pay for the two kilograms of cocaine the next day,

August 29, 2021. That day, at approximately 9:40 p.m., JULIA received an

incoming call on TT2 from SOTO (TT2 Ref. # 217), during which SOTO told

JULIA know he was on his way to her house. At approximately 9:47 p.m., law

enforcement observed SOTO’s vehicle, a black Jeep Latitude, arrive at 9601 S.

Indiana Avenue, where it remained for a short time. Based on my training,

experience, and knowledge of this investigation, I believe SOTO traveled to the

Indiana Residence to pay $51,000 for the two kilograms of cocaine that JULIA

had delivered to him the day prior. In fact, the Indiana Ledgers confirm this. The

ledgers detail how JULIA was initially in possession of nine kilograms of cocaine.

Six of those appear to have been taken by PEREZ-CAMACHO on August 26,

leaving the organization with three kilograms of cocaine—just as JULIA had told

CHUY LNU during their August 28 call (TT2 Ref. # 186). The ledgers next note

that two of those three kilograms were given to SOTO (“El Güero”) on August 28.




13    This vehicle is registered to JULIA at the Indiana Residence.
                                       49
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 52 of 91




And finally, the Indiana Ledgers confirm that the next day, August 29, 2021,

SOTO (El Güero) paid JULIA $51,000.




     59.   Three days later, on September 1, 2021, JULIA would deliver a

kilogram of methamphetamine to DOMINGUEZ. Coordination for the deal

                                    50
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 53 of 91




began that day, at approximately 1:23 p.m., when JULIA received an incoming

call on TT2 from IVAN (TT2 Ref. # 249). During the call, IVAN asks JULIA if

she will take “one” to “Golo” (DOMINGUEZ), and JULIA agrees. At the time, law

enforcement had established surveillance on JULIA while she was at a Ross

Dress for Less located at 1433 W Interstate 240 Service Rd, Oklahoma City,

Oklahoma. Next, at approximately 1:32 p.m., law enforcement observed JULIA

depart the Ross Dress for Less in her Chevrolet Cruze. JULIA drove directly to

the 49th St. Residence, where she arrived at approximately 1:43 p.m. This

location was significant, as law enforcement had previously identified as a stash

house for the DTO. 14

      60.   At approximately 1:46 p.m., JULIA placed an outgoing call to IVAN

at (405) 625-9052 (TT2 Ref. # 250). During this call JULIA tells IVAN, “It's

fourteen six-hundred of what's there.” As the call continues, JULIA asks IVAN,

“What kind do I deliver? From the tupper?” IVAN replies, “Uh, the other ones.

Either one.” Based on my training, experience, and knowledge of the investigation,

I believe that in this call, JULIA tells IVAN there was approximately 14,600



14     For example, on August 19, 2021, at approximately 5:40 p.m.—hours
after the seizure of $327,270 on August 19, 2021, from the DTO’s money
courier—JULIA received a phone call on TT2 from CHUY LNU, using 52-639-
167-8513, during which the two discussed the “groceries” that were still at the
house “on 49th” where JULIA stated she had delivered the money (TT2 Ref. #
74). JULIA informed CHUY LNU that there were “sixteen” “waters”, as well
as “a little chorizo” left at the 49th St. Residence.

                                       51
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 54 of 91




grams of methamphetamine at the 49th St. Residence and she was asking IVAN

which kind of methamphetamine she should deliver to DOMINGUEZ.

      61.    Roughly five minutes later, at approximately 1:51 p.m., law

enforcement observed JULIA exit the residence at 1108 SW 49th Street. Shortly

after that JULIA placed an outgoing call to DOMINGUEZ at (405) 968-0100

(TT2 Ref. # 251), during which JULIA told DOMINGUEZ she would be there in

approximately 1 minute. At approximately 1:56 p.m. law enforcement observed

JULIA arrive at the Hillcrest apartments at 1402 SW 49th Street, Oklahoma

City, Oklahoma, which investigators have identified as DOMINGUEZ’s

residence. Based on my training, experience, and knowledge of the investigation,

I believe that JULIA made this trip at the behest of IVAN to deliver one

approximately one kilogram of methamphetamine to DOMINGUEZ. In fact, the

Indiana Ledgers confirm this, as they document that one kilogram was delivered

to DOMINGUEZ (“Golo”) on September 1, 2021, in addition to several other

instances.




                                      52
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 55 of 91




      62.   Another round of Title III wiretaps followed. On September 27, 2021,

the Honorable David L. Russell, United States Chief District Judge for the

Western District of Oklahoma, signed an order pursuant to 18 U.S.C. § 2518, et

seq. authorizing the interception of wire communications over (405) 625-9052

(TT3), used by IVAN, and (405) 763-9184, used by JULIA, and the initial

interception of wire and electronic communications over (214) 909-5101, used by

PEREZ-CAMACHO. Interception began on September 27, 2021, and terminated

on October 26, 2021.15

      63.   By the time law enforcement received authorization for the above

wiretaps, both wire intercepts and the tracker on PEREZ-CAMACHO’s Chrysler


15    On September 28, 2021, PEREZ-CAMACHO called T-Mobile to change
his phone number, which was then changed from the -5101 number to (239)
710-8142. Because the IMSI number did not change, the Court’s September
27 Order authorized law enforcement to intercept wire and electronic
communications over PEREZ-CAMACHO’s new -8142 number (TT4).

                                      53
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 56 of 91




200 established that he had moved to Indianapolis at the behest of CHUY LNU to

work for the DTO there.16        With PEREZ-CAMACHO having moved to

Indianapolis, it appeared that DOMINGUEZ would be taking a larger role within

the DTO. A call on October 1, 2021, between DOMINGUEZ, using (405) 968-

0100, and PEREZ-CAMACHO (TT4 Ref. # 215) established that DOMINGUEZ

would be taking over PEREZ-CAMACHO’s job of delivering drugs across the

country.   During the call, DOMINGUEZ tells PEREZ-CAMACHO, “Fasti

already sent me the money yesterday and I am going to go for the car, but what,

what car should I get, fool?” DOMINGUEZ continues, clarifying, “For the trap,

just for the trap, fool. He’s going to sell me the car, fool. Just the trap, fool.”

PEREZ-CAMACHO tells DOMINGUEZ, “Uh-huh. Yes, yes. It’s because right

now he’s telling me that . . . hold on. He was telling me that one like… a Cruze

like my Aunt Julie’s.” PEREZ-CAMACHO then asks DOMINGUEZ what cars

are available.   DOMINGUEZ tells him, “There’s a Malibu there, fool, two-

thousand eighteen. There’s a…a, what are they called? The Cruze, fool, there’s two

Cruze, fool. Uh, what else? There’s a, well, the BMW that I showed you.”

DOMINGUEZ also states there’s a Cadillac and a Mercedes.”                PEREZ-

CAMACHO asks, “does the Malibu have the dashboard like my aunt’s . . . like




16 A call on October 1, 2021, essentially confirmed that PEREZ-
CAMACHO had moved (TT1 Ref. # 201). During the call, PEREZ-
CAMACHO states, “I’m living here in Indianapolis.”
                                        54
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 57 of 91




the, like the Cruze?” The two continue discussing different types of vehicles, with

DOMINGUEZ explaining that he is going to “Raleigh, North Carolina.” Later in

the conversation, PEREZ-CAMACHO notes that the Malibu “has good

accessories on the dashboard” and “other than driving smooth, they’re . . . not

flashy, you know what I mean?” PEREZ-CAMACHO continues to explain the

benefits of the Malibu, noting that “for the accessories it’s really easy.”

DOMINGUEZ asks, “Putting them in and everything?” PEREZ-CAMACHO

confirms, “Yes, yes, you don’t have to get off the car or anything, fool.”

DOMINGUEZ then asks, “Everything up there through the, the… thing, right?”

PEREZ-CAMACHO replies, “Yes, everything up, everything up, yeah.” He also

notes that “even at a Supercenter, even at a store they can do it.” PEREZ-

CAMACHO continues, telling DOMINGUEZ to “get the windows tinted . . . so

they can’t look too much inside and they can do the job at a store more quickly.”

Before the call concludes, PEREZ-CAMACHO tells DOMINGUEZ he will

contact a friend about obtaining the vehicle for DOMINGUEZ.

      64.   Based on my training, experience, and knowledge of the

investigation, I believe that during this call, DOMINGUEZ and PEREZ-

CAMACHO are discussing DOMINGUEZ possibly assuming PEREZ-

CAMACHO’s prior role of delivering drugs to out-of-state customers. PEREZ-

CAMACHO gives DOMINGUEZ advice primarily about the best vehicles for

transporting drugs, explaining that some vehicles allow for compartments to be

                                        55
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 58 of 91




installed that can then be accessed from the inside. PEREZ-CAMACHO—who

during this investigation has driven two different Chevrolet Cruzes, a Chevrolet

Malibu, and a Chrysler 200—recommends a Chevrolet Cruze like the one JULIA

drives because they drive well and are not flashy—and would thus not attract law

enforcement. I also believe that PEREZ-CAMACHO favors vehicles where the

trap compartment can be quickly accessed from inside because it allows the

occupant to conduct drug deals without leaving the vehicle. Law enforcement

believes the call demonstrates PEREZ-CAMACHO’s expansive knowledge

gained from acting as a courier for this DTO and suggests that DOMINGUEZ

would soon be taking over PEREZ-CAMACHO’s courier duties—and like

PEREZ-CAMACHO—would be transporting drugs in a hidden compartment.

      65.   With PEREZ-CAMACHO in Indianapolis, he still needed a way to

service local customers such as L.N.17 To that end, he used his brother KEVIN


17     By October 2021, the investigation had established that PEREZ-
CAMACHO was selling cocaine to a customer, L.N., located in Spencer,
Oklahoma. For example, PEREZ-CAMACHO was intercepted on calls on
July 23 and July 24, 2021 setting up a deal that ultimately occurred in the
Spencer area. During the July 23 call (TT1 Ref. # 449), PEREZ-CAMACHO
asked an unidentified male, using telephone number (405) 830-6244 (UM6244)
for a “car” for tomorrow. (As discussed supra, intercepts have established that
members of the DTO sometimes use “car” when referring to a kilogram of
cocaine.) UM6244 told PEREZ-CAMACHO that he was in Mexico but that
he has a buddy who could deliver it in thirty minutes to PEREZ-CAMACHO’s
apartment. Shortly after, surveillance captured an unknown male in a tan
Hyundai arrive to PEREZ-CAMACHO’s apartment. That the individual in
the tan Hyundai had delivered a kilogram of cocaine—a “car”—to PEREZ-
CAMACHO was seemingly confirmed the next day, on July 24. That day, at
                                      56
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 59 of 91




and DOMINGUEZ to deliver a kilogram of cocaine to L.N. on October 8, 2021.

Coordination for the deal began the day prior, October 7, at approximately 1:03

p.m., when PEREZ-CAMACHO, using TT4, sent a text message to (405) 541-

5382, a phone number law enforcement knows to be used by L.N. (TT4 Ref. # 541).

The text message, which was sent in English, read, “Sr you think i can take you

the pair of shoes for 2morrow sorry to bother you sr im just asking cuz im omw (on

my way) to OKLAHOMA rn im (right now) trynna get back saturday eveSr you

think i can take you the pair of shoes for 2morrow sorry to bother you sr im just

asking cuz im omw to OKLAHOMA rn im trynna get back saturday evening, let

me know i'll stay if you cant 2 morrowning, let me know i'll stay if you cant 2

morrow” L.N. responded, “U can come today if you want” (TT4 Ref. # 543).

PEREZ-CAMACHO then replied, “Ok if I make cuz im like 9 hrs if not rmw in




approximately 10:03 a.m., PEREZ-CAMACHO placed an outgoing call (TT1
Ref. # 482) to (405) 541-5382, a phone later confirmed to belong to L.N. During
the call, L.N. told PEREZ-CAMACHO that he would be sending him the
address. Law enforcement did not intercept L.N. sending the address,
however, but the WhatsApp pen register on PEREZ-CAMACHO’s phone
showed him receiving a message from L.N. It appears that L.N. did, in fact,
send the address via WhatsApp to PEREZ-CAMACHO because the GPS
tracker on PEREZ-CAMACHO’s Chrysler 200 showed him traveling to east
Oklahoma City, where he pulled off on the side of the road near 4217 Diana
Ave., Spencer, Oklahoma—an address which, as described below, was later
confirmed as belonging to L.N. PEREZ-CAMACHO then traveled directly
back to his apartment at 3706 S. Pennsylvania Ave., where law enforcement
observed him retrieve a shoebox out of his vehicle’s trunk—which I believe
contained the drug proceeds from the deal—and carry it into his apartment.

                                       57
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 60 of 91




the morning sr for sure” (TT4 Ref. # 546). Based on my training, experience, and

knowledge of the investigation, I believe that in the above call PEREZ-

CAMACHO and L.N. were coordinating for PEREZ-CAMACHO to deliver, or

have delivered on his behalf, a kilogram of cocaine.

      66.   As explained, however, PEREZ-CAMACHO was not in Oklahoma

at the time, so at 1:22 p.m., he then called his brother KEVIN at (405) 968-6158

about conducting the deal. During the call (TT4 Ref. # 556), KEVIN tells PEREZ-

CAMACHO that he is currently with “El Güero” (SOTO), “El Licenciado”

(LOPEZ-CARREON), and “Golo” (DOMINGUEZ).” PEREZ-CAMACHO then

asks KEVIN to ask someone for a ride to go see a “black guy” and drop off a

“device.” KEVIN agrees and tells PEREZ-CAMACHO he will ask “Gordo” once

he gets out of the shower. Based on my training, experience, and knowledge of

the investigation, I believe that in the above call, KEVIN, on behalf of PEREZ-

CAMACHO, was agreeing to drop off a kilogram of cocaine (a “device”).

      67.   Right after this call, at 1:25 p.m., PEREZ-CAMACHO texted L.N.,

“My brother is gonna take you that today sr” (TT4 Ref. # 557), and then, “Its ok?”

(TT4 Ref. # 559). L.N. responded, “I can wait on you tomorrow morning.” (TT4

Ref. # 567). PEREZ-CAMACHO then replied, “Ok sr thank you ill se you tmw”

(TT4 Ref. # 568). PEREZ-CAMACHO then once again called KEVIN at (405)

968-6158 (TT4 Ref. # 572). During the call, PEREZ-CAMACHO tells KEVIN,

“Nevermind after all” because PEREZ-CAMACHO was on his way to Oklahoma

                                        58
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 61 of 91




and would be delivering it himself the following day.

      68.   As described below, however, PEREZ-CAMACHO ultimately did

not come back to Oklahoma and deliver the cocaine himself and instead used his

brother KEVIN and DOMINGUEZ to conduct the deal. Later that day, on

October 7, at approximately 3:19 p.m., DOMINGUEZ, using (405) 968-0100,

called PEREZ-CAMACHO (TT4 Ref. # 590), during which the two discussed the

deal. During this call, PEREZ-CAMACHO asked DOMINGUEZ, “Do you think

you could do me a favor tomorrow, dude?” DOMINGUEZ responds, “For sure.

What’s up?” PEREZ-CAMACHO replies, “To take a device there to a buddy

where we went to once?” DOMINGUEZ then agrees, “For sure. Fuck it.” PEREZ-

CAMACHO then tells DOMINGUEZ, “There with Kevin. With Kevin, dude. It’s

because Kevin is going to drop it off. You just take him and I’ll give you some

money. I’ll give you two-hundred dollars.” Based on my training, experience, and

knowledge of the investigation, I believe that in this call, PEREZ-CAMACHO

was coordinating with DOMINGUEZ to have him take KEVIN to deliver one

kilogram of cocaine (“a device”) to L.N., and that PEREZ-CAMACHO and

DOMINGUEZ had delivered to L.N. previously (“where we went once”).

      69.   Then, at approximately 3:20 p.m., PEREZ-CAMACHO, using TT4,

placed an outgoing call to his brother KEVIN (TT4 Ref. # 592), ostensibly to give

him instructions for the delivery to L.N. During the call, PEREZ-CAMACHO

tells, KEVIN that “Golo (DOMINGUEZ) is going to take you.” PEREZ-

                                       59
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 62 of 91




CAMACHO then gives KEVIN instructions on what to do: “Just wear a low cap,

dude. Low, not so low, okay . . . because the black dude knows Ivan, dude.”

PEREZ-CAMACHO also says “to take it to him” and to put “them under . . . the

belt and everything, don’t have, don’t have anything in your hands.” Finally,

PEREZ-CAMACHO tells KEVIN to “just knock” and “just tell him that you’re

going on behalf of your brother.” Based on my training, experience, and knowledge

of the investigation, I believe that PEREZ-CAMACHO was giving KEVIN

detailed instructions on how to deliver the kilogram of cocaine to LINCOLN:

while wearing a low hat and without holding anything in his hands, which I

believe based on my training and experience was to avoid detection by law

enforcement.

      70.   In anticipation of the deal, law enforcement established surveillance

the next morning at PEREZ-CAMACHO’s apartment located at 3706 S.

Pennsylvania    Ave.,   Oklahoma     City.     At   approximately    10:42   a.m.,

DOMINGUEZ’s black Chevrolet Cruze, bearing a paper tag, arrived at the

apartment. KEVIN then exited the passenger seat of the vehicle and entered

PEREZ-CAMACHO’s apartment, number 213.                 KEVIN remained in the

apartment for a few minutes, before returning to the passenger seat of the vehicle.

The vehicle then departed at 10:45 a.m. Law enforcement was able to take

photographs of KEVIN retrieving the one kilogram of cocaine from PEREZ-

CAMACHO’s apartment.

                                        60
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 63 of 91




      71.   That KEVIN had in fact retrieved the one kilogram of cocaine from

the apartment was confirmed by the call he made to PEREZ-CAMACHO at TT4

at approximately 10:45 a.m. (TT4 Ref. # 620). During the call, KEVIN states, “I

just picked up the device, fool. Here from the apartment.” PEREZ-CAMACHO

then proceeded to give directions to L.N.’s residence. Moreover, that

DOMINGUEZ was driving was further confirmed during the call when PEREZ-

CAMACHO stated, “let me talk to Golo,” and KEVIN passed the telephone to

DOMINGUEZ to give him additional directions.

      72.   Law enforcement then established surveillance at L.N.’s residence at

4217 Diana Ave., Spencer, Oklahoma.        At approximately 11:14 a.m., law

enforcement observed DOMINGUEZ’s black Chevrolet Cruze arrive at the

residence. KEVIN then exited the vehicle and entered the residence, before

returning to and reentering the Cruze. Law enforcement then observed the Cruze

depart at approximately 11:16 a.m. Then, at approximately 11:16 a.m., PEREZ-

CAMACHO used TT4 to call KEVIN at his -6158 number (TT4 Ref. # 627).


                                      61
          Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 64 of 91




During the call, KEVIN tells PEREZ-CAMACHO, “Listen, I already delivered

it. He already turned in the receipt and everything. Now we’re heading to the

house.”

      73.     A few days later, on October 13, 2021, law enforcement executed a

search warrant on L.N.’s residence at 4217 Diana Ave. and located two kilogram-

sized bricks of white powder that field tested positive for cocaine and weighed

approximately 2,482 grams. Law enforcement also found evidence of a crack

cocaine conversion lab in the kitchen and two firearms in the living room. L.N.

was arrested subsequently arrested and in a Mirandized interview confirmed that

the recovered cocaine belonged to him, that he had been distributing the cocaine,

and that he had been paying between $33,000 and $34,000 per kilogram. Based

on my training, experience, and knowledge of the investigation, I believe that on

October 8, 2021, DOMINGUEZ and KEVIN delivered one kilogram of cocaine to

L.N.—a regular customer of the DTO—at the behest of PEREZ-CAMACHO.

      74.     Meanwhile, IVAN’s drug distribution activities continued.       On

October 12, 2021, at approximately 11:45 a.m., IVAN, using TT3, placed an

outgoing call to GUSTAVO-MARTINEZ at telephone number (918) 859-4879

(TT3 Ref. # 228). After greeting, GUSTAVO-MARTINEZ tells IVAN, “I forgot to

call you.” IVAN responds, “Oh, yeah. Hey, is it, it going to happen or what…what?”

GUSTAVO-MARTINEZ replies, “Yes. Come over, dude.” IVAN then affirms, and

GUSTAVO-MARTINEZ then tells IVAN, “I will wait for you here . . . at the

                                       62
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 65 of 91




restaurant.” At approximately 12:44 p.m., the court-authorized GPS tracker on

IVAN’s Dodge Ram truck showed the vehicle departing the Indiana Residence

and traveling towards Tulsa, Oklahoma. 18

      75.   Law enforcement then established surveillance in the vicinity of Tia

Chepa’s restaurant, located at 10915 E. 31st St., Tulsa, Oklahoma.           At

approximately 2:30 p.m., law enforcement observed IVAN’s Dodge Ram truck

arrive to the restaurant. Simultaneously, IVAN, using TT3, placed an outgoing

call to GUSTAVO-MARTINEZ to tell him that he was outside (TT3 Ref. # 229).

GUSTAVO-MARTINEZ says, “Give me a moment.”

      76.   At approximately 2:38 p.m., law enforcement observed GUSTAVO-

MARTINEZ walk to the passenger side of IVAN’s vehicle and obtain a yellow sack

from IVAN. Shortly after, law enforcement observed IVAN depart the parking

lot and GUSTAVO-MARTINEZ walk back into the restaurant without the yellow

sack. Because law enforcement never observed GUSTAVO-MARTINEZ walk into

the restaurant with the yellow sack that he had obtained from IVAN,

investigators believe that GUSTAVO-MARTINEZ placed the yellow sack inside

his (GUSTAVO-MARTINEZ) 2009 Honda Odyssey bearing Oklahoma license

plate LGZ-344. Surveillance was then maintained on the Honda Odyssey.




18    On August 18, 2021, the Hon. Suzanne Mitchell, U.S. Magistrate Judge
for the Western District of Oklahoma, granted an order authorizing the
installation and monitoring of a GPS device on this vehicle.
                                      63
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 66 of 91




      77.   At approximately 3:53 p.m., law enforcement observed GUSTAVO-

MARTINEZ enter the driver’s seat of the Honda Odyssey and depart the parking

lot. Law enforcement then maintained surveillance on GUSTAVO-MARTINEZ

for a short while before conducting a traffic stop on his vehicle for unsafe lane

movement. Law enforcement then ran a state-certified K-9 around GUSTAVO-

MARTINEZ’s vehicle for a free air sniff, and the K-9 alerted for the presence of

narcotics in GUSTAVO-MARTINEZ’s vehicle. After a probable cause search of

the vehicle, officers located approximately one kilogram of cocaine inside the

yellow sack and placed GUSTAVO-MARTINEZ under arrest.              Based on my

training, experience, and knowledge of the investigation, I believe that IVAN

delivered this one kilogram of cocaine to GUSTAVO-MARTINEZ.

      78.   Throughout this investigation, law enforcement was able to identify

several trips that JULIA and/or AARON made to Tulsa, Oklahoma, on behalf of

the DTO. One such trip occurred on October 15, 2021, when JULIA and AARON

traveled to Tulsa to meet with ALVAREZ, who delivered $21,000 and a returned

a kilogram of cocaine to JULIA and AARON. Coordination for the meeting began

the day prior, on October 14, at approximately 4:47 p.m., when JULIA used TT5

to place an outgoing call to ALVAREZ at (918) 982-8167 (TT5 Ref. # 166). During

the call, JULIA tells ALVAREZ, “Hey, this man asked me to call you.”

ALVAREZ responds, “Yes, I have some papers.” The two then made plans to

meet the next morning, with JULIA telling ALVAREZ that she (JULIA) would

                                       64
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 67 of 91




“try to be there exactly at eight” the next morning. Based on my training,

experience, and knowledge of the investigation, I believe that JULIA had called

ALVAREZ because ALVAREZ was in possession of drug proceeds (“papers”) and

that the two coordinated a meeting for 8:00 a.m., the next morning, October 15.

      79.   The following day, on October 15, 2021, at approximately 6:20

a.m., the GPS tracker attached to JULIA’s Chevrolet Cruze showed her

vehicle leaving the Indiana Residence and begin traveling east towards Tulsa,

Oklahoma. At approximately 7:59 a.m., the GPS tracker on the Chevrolet

Cruze showed the car arriving at 5215 S. Wheeling Ave., Tulsa, Oklahoma.

Law enforcement observed two other vehicles at the residence, both of which

are registered to ALVAREZ at 5215 S. Wheeling Ave., Tulsa, Oklahoma: (1) a

white Chevrolet Silverado bearing Oklahoma license plate HMQ994; and (2) a

blue Nissan Titan bearing Oklahoma license plate KHG117.

      80.   As she was arriving, JULIA used TT5 to place an outgoing call to

ALVAREZ, who was again using her -8167 number, to alert ALVAREZ that

she (JULIA) had arrived (TT5 Ref. # 176). At approximately 8:01 a.m., law

enforcement observed JULIA enter the residence on Wheeling Ave. JULIA

was inside the residence for approximately two minutes before returning to her

Chevrolet Cruze and leaving the location. Law enforcement then maintained

surveillance on the Cruze as it traveled to a QuikTrip gas station located at

5111 S. Lewis Ave., Tulsa, Oklahoma.         JULIA and AARON were then

                                       65
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 68 of 91




observed exiting the Chevrolet Cruze and entering the QuikTrip for a short

time before returning to their vehicle and leaving the location.

      81.   Based on my training, experience, and knowledge of the

investigation, I believe that ALVAREZ is a Tulsa-based distributor for the

DTO, and that JULIA and AARON traveled to Tulsa on October 15, 2021, to

pick up drug proceeds—specifically $21,000—from her, as well as retrieve an

extra kilogram of cocaine that ALVAREZ had in her possession. The ledgers

specifically note that on October 15, 2021, “Andrea” (ALVAREZ) delivered

“21.000,” which I believe corresponds to $21,000. According to the ledgers,

ALVAREZ also devolvió (Spanish for “returned”) “1 F” (one fina, or one

kilogram of cocaine).




      82.   Moreover, a separate page of the Indiana Ledgers further

corroborated that ALVAREZ had returned one kilogram of cocaine. Based on my

training, experience, and knowledge of this investigation, I believe that the page

from the ledger depicted below shows that on October 15, 2021, Andrea, who was

based in Tulsa (“T”), returned (devolvió) “1 F” (one fina, or one kilogram of


                                       66
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 69 of 91




cocaine”). The ledgers also notes that the one kilogram of cocaine would have been

traída (Spanish for “brought”), which resulted in the DTO having a cocaine supply

of 13 kilograms at that time. 19




      83.    A few days later, on October 19, 2021, IVAN and CHUY LNU began



19    I do not believe that ALVAREZ’s October 15 delivery of a kilogram of
cocaine and $21,000 to JULIA and AARON was the only time she dealt with
JULIA on behalf of the DTO. For example, one page of the ledgers kept a
running tally of finas or kilograms of cocaine the DTO had on hand. The
Indiana Ledgers note that on “10-Sept” (September 10, 2021), “Andrea”
(ALVAREZ) received two of the DTO’s 16 kilograms of cocaine. A separate
page of the ledger appears to contain debts owed by couriers and distributors
of the DTO, including “Roy” (ROY), “Güero” (SOTO), “Alexis” (PEREZ-
CAMACHO), and “Mono” (LOPEZ). That page notes that on September 10,
2021, ALVAREZ had a debt of “60.000” ($60,000)—consistent with the price
of two kilograms of cocaine she would have received that day from the DTO. It
also notes that the debt was later reduced by $9,000, which was consistent with
a separate page of the ledger showing that on September 23, 2021, ALVAREZ
deposited $9,000 with JULIA.
                                       67
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 70 of 91




coordinating for IVAN to deliver five kilograms of cocaine to LINCOLN and a

half-kilogram to a Tulsa-based customer. On October 19, 2021, IVAN received an

incoming call from CHUY LNU at approximately 1:44 p.m. (TT3 Ref. # 289). In

this call, CHUY LNU asks IVAN if he has ever been to Little Rock before. IVAN

and CHUY LNU then confirm with each other that it is a black guy in Little Rock.

CHUY LNU then explains, “Right now there is a vehicle on the way there . . . there

is a vehicle on the way, it is a little truck.” IVAN affirms, and CHUY LNU states,

“It is carrying five (5) inside,” and that the delivery “would be to take him (“the

black guy”) those five tomorrow.” CHUY LNU goes onto explain that “Avion”

needed IVAN to go see the guy “from the restaurant” tomorrow and that he would

need “half” of the “fine ones.”   Before the call concludes, CHUY LNU again

remains IVAN that “those five are for the black guy.” Based on my training,

experience, and knowledge of this investigation, I believe that in this call, CHUY

LNU was instructing IVAN to deliver five kilograms of cocaine to LINCOLN in

Arkansas (the “black guy”) and to deliver another half-kilogram to a Tulsa-based

customer the next day, October 20. CHUY LNU also explains to IVAN that the

five kilograms of cocaine for LINCOLN would be arriving in a small truck.

      84.   Not thirty minutes later, at approximately 2:08 p.m., IVAN received

an incoming call on TT3 from LINCOLN, using (830) 443-1954 (TT3 Ref. # 300).20


20   Based on voice analysis of the July 20 call between PEREZ-CAMACHO
and LINCOLN (TT1 Ref. # 248), in which the two coordinated for PEREZ-
                                        68
         Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 71 of 91




During the call, IVAN spoke in broken English, explaining, “me no speak English,

only, uh . . . for the text.” In any event, the two were able to make plans for IVAN

to come at 8:00 a.m. the next morning (October 20). LINCOLN then tells IVAN

he will send the address. Based on my training, experience, and knowledge of the

investigation, I believe that IVAN was coordinating with LINCOLN to deliver

him five kilograms of cocaine the next day.

      85.    Later that day, at approximately 3:16 p.m., IVAN received an

incoming call from UM0460 at (918) 568-0460 (TT3 Ref. # 310). During this call,

IVAN tells the unknown male (UM0460) he will see him tomorrow around 2:00 or

3:00 p.m., IVAN asks, if this is the restaurant guy, and UM0460 responds that he

is the restaurant guy’s cousin. UM0460 goes on to state that he has seen IVAN a

couple of times on “thirty-first” before. UM0460 agrees to send IVAN and address

to meet and the call ends. Based on my training, experience, and knowledge of

this investigation, I believe that in this call, IVAN is coordinating with UM0460

about the delivery of the half-kilogram of cocaine that he will make to him in

Tulsa.

      86.    Next, at approximately 5:40 p.m., IVAN received an incoming call on

TT3 from CHUY LNU, who was using telephone number 52-639-165-6239 (TT3



CAMACHO to deliver six kilograms of cocaine to LINCOLN that day, law
enforcement believes that LINCOLN had switched his number to the -1954
number and was now using this new number to coordinate with IVAN.

                                        69
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 72 of 91




Ref. # 319). During the call, CHUY LNU tells IVAN that the person would be

arriving in like 20 minutes and that “it’s a matter of picking up, picking up the

vehicle . . . taking it to the shop, so you can work on it and that’s it.” CHUY LNU

continues, “It is a matter of taking the dashboard off but once you are at the shop

. . my friend will call you because to explain how it is because I do not know exactly

how it is.” IVAN then tells CHUY LNU, “All good, all good. Uh . . . either way I

will wait for this person.” Based on my training, experience, and knowledge of the

investigation, I believe that in this call CHUY LNU was explaining to IVAN that

the truck arriving with five kilograms of cocaine would arrive in twenty minutes

and that IVAN would have to take the dashboard apart in order to retrieve the

five kilograms of cocaine.

      87.    At approximately 6:12 p.m., law enforcement observed IVAN’s Dodge

Ram truck arrive at the Hampton Inn and Suites located at 920 SW 77th St. in

Oklahoma City and park on the east side of the lot directly next to a black Dodge

Dakota truck bearing Oklahoma license plate LEH971. A short time later law

enforcement observed a female walking away from the Dodge Dakota and into the

hotel. IVAN then entered the driver’s seat of the Dodge Dakota and departed the

hotel. Law enforcement maintained surveillance on the Dodge Dakota as IVAN

drove it to the Indiana Residence, pulled into the garage, and closed the garage

door behind him.

      88.    I believe that MORALES was the person who delivered the five

                                         70
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 73 of 91




kilograms of cocaine to IVAN: the license plate on the Dodge Dakota truck

registers to “Nancy Isabel Morales Rodriguez” (MORALES) at 1417 N Lewis Ave.,

Tulsa, Oklahoma. Further, records of border crossings show that earlier that

morning, on October 19, 2021, the Dakota had crossed into the United States from

Mexico in El Paso at approximately 9:06 a.m., and that the driver and sole

occupant of the Dodge Dakota was MORALES.

      89.   At approximately 8:31 p.m., IVAN placed a phone call using TT3 to

CHUY LNU at his -6239 number (TT3 Ref. # 322). During this conversation,

IVAN tells CHUY LNU that they were already done with it and asked if he had

to return it or when. CHUY LNU told IVAN to return it tomorrow if he could not

return it today (October 19, 2021). IVAN then states, “it does have a lot of screws

and I think it is going to take some time to put it back together again.” CHUY

LNU then tells IVAN to return the car tomorrow. IVAN responds and tells

CHUY LNU that he is going to Arkansas and then to the “T” so he would be busy

all day doing that. IVAN then asked if he could wait another day. CHUY LNU

answers that he would let them know to wait a little more. Both parties conclude

the phone call shortly after. Based on my training, experience, and knowledge of

this investigation I believe that IVAN made this call to CHUY LNU to inform him

that he had removed the five kilograms of cocaine—destined for LINCOLN—from

the dashboard compartment of the Dodge Dakota. During the call, IVAN also

inquires about returning the vehicle and lets CHUY LNU know that the dash

                                        71
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 74 of 91




needed to be put back together.

      90.   The following day, October 20, 2021, at approximately 8:48 a.m., the

tracker on IVAN’s Dodge Ram arrived in the area of Fort Smith, Arkansas. At

9:24 a.m. there was a malfunction in the tracker not allowing law enforcement to

continue to track the movements of IVAN. Nonetheless, it appears that IVAN

delivered five kilograms of cocaine to LINCOLN early that morning of October

20, as pen register information shows that LINCOLN, using his -1954 number,

sent IVAN a text message at approximately 8:15 a.m. IVAN then sent a text

message to LINCOLN at 8:42 a.m.

      91.   Later that morning, at approximately 11:27 a.m., IVAN received an

incoming call on TT3 from CHUY LNU at his -6239 number (TT3 Ref. # 354).

During the call, IVAN told CHUY LNU, “Hey, look we are here in the T now and

this guy is all set now as well.” CHUY LNU then asks, “Oh, you already saw him

too. Did he give you . . . he was going to give you sixteen.” IVAN then responds,

“Yes, sixteen and a half.” Based on my training, experience, and knowledge of the

investigation I believe that in this conversation, CHUY LNU was inquiring of

IVAN whether he had made the five-kilogram delivery to LINCOLN and the half-

kilogram delivery to the unknown Tulsa customer, to which IVAN affirms.

      92.   Later that night, at approximately 5:14 p.m., IVAN placed another

outgoing call to CHUY LNU at his -6239 number (TT3 Ref. # 367). IVAN tells

CHUY LNU that “we just finished up with the truck.” CHUY LNU then tells

                                       72
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 75 of 91




IVAN to ask JULIA for “eight six hundred so you can give it to [her].” IVAN then

asks what about the “four hundred” that were given the previous day on October

19, 2021. IVAN and CHUY LNU both then confirm that the “eight six hundred”

plus the “four hundred” comes out to “nine pesos.” Based on my training and

experience and knowledge of the investigation in this call, I believe IVAN first

tells CHUY LNU that he had finished putting the Dodge Dakota back together

and then confirms the amount of money to be given to MORALES for

transportation fees. CHUY LNU advises that IVAN should get $8,600 (“eight six

hundred”) from his mother to complete the payment of $9,000 to MORALES.

      93.    In response, law enforcement once again established surveillance at

the Hampton Inn and Suites located at 920 SW 77th St. where IVAN had picked

up the Dodge Dakota on the previous day. At approximately 7:05 p.m., the pole

cam at the Indiana Residence captured the Dodge Dakota departing the residence.

At approximately 7:13 p.m., law enforcement observed the Dodge Dakota arrived

at the Hampton Inn and Suites. At approximately 7:19 p.m., law enforcement

observed MORALES exit the front doors of the hotel and walk toward the Dodge

Ram that was driven to the hotel by IVAN. Law enforcement then observed a

hand-to-hand transaction between IVAN and MORALES before IVAN left in his

Dodge Ram.

      94.    DEA eventually confirmed that MORALES was the individual

IVAN had met with by serving an administrative subpoena on the Hampton Inn

                                       73
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 76 of 91




and Suites. The hotel confirmed that an individual who provided the name of

“Nancy Moreales,” with an address of 749 W 3900 S Riverdale, had checked into

the hotel on October 19, 2021. Based on law enforcement’s investigation, this

address appears to be fictitious, which I know based on my training and

experience is a common method employed by drug traffickers in order to avoid

detection by law enforcement.

      95.   To sum, based on my training, experience, and knowledge of the

investigation, I believe that MORALES drove from Mexico into the United States

on October 19, 2021, in her Dodge Dakota truck transporting five kilograms of

cocaine. She then left that truck at the Hampton Inn and Suites for IVAN, who

drove it to the house on Indiana Ave., where he dismantled the dash board in order

to retrieve the five kilograms of cocaine out of the vehicle. Once he had retrieved

those five kilograms, he proceeded on October 20 to deliver those five kilograms to

LINCOLN in Arkansas and another half-kilogram of cocaine to UM0460 in Tulsa.

In addition to the calls and surveillance described above, law enforcement later

received further corroboration that this is precisely what had taken place. For

example, following his arrest on October 26, 2021, IVAN granted consent for the

search of his phone, TT3. Law enforcement then recovered data from TT3,

including photographs dated October 19, 2021, that show IVAN with a dismantled

dashboard of a vehicle in the garage of the Indiana Residence. Furthermore, the

Indiana Ledgers confirm the October 20 deliveries to LINCOLN in Arkansas and

                                        74
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 77 of 91




UM0460 in Tulsa. As shown below, a half-kilogram of cocaine was sold in “T”

(Tulsa) on October 20, 2021, for $16,500—just as IVAN had told CHUY LNU.

Further, $9,000 was then subtracted for transportation fees for “5 F” (five finas,

or five kilograms of cocaine) to the person driving the “Ram Negro.” (While

MORALES was driving a black Dodge Dakota truck—not a black Dodge Ram—I

believe this was likely an oversight.) The $9,000 noted in the Indiana Ledgers is

also consistent with the “9 pesos” that IVAN and CHUY LNU discussed. A

separate page of the ledger also notes that “5” (kilograms of cocaine) was delivered

to Arkansas by IVAN and AARON and another “½” (kilogram of cocaine) was

delivered to the “T” (Tulsa), both on October 20, 2021.




                                        75
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 78 of 91




      96.   As shown, LOPEZ, was a regular customer of the DTO. In fact, the

ledgers from the Indiana Residence documented numerous deliveries by the DTO

to LOPEZ. For example, the Indiana Legers showed a $20,000 payment made by

LOPEZ (“Mono”) on July 21, 2021.




Another entry, this time for October 14, 2021, showed that LOPEZ paid MONO

paid JULIA $57,000 total for two kilograms of cocaine




                                      76
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 79 of 91




      97.   On October 20, 2021, law enforcement executed a search warrant at

LOPEZ’s residence.     In total, law enforcement recovered approximately 3.5

kilograms of a substance that field tested positive for cocaine. Approximately half

of a kilogram was found in a clear plastic bag on the dresser inside the master

bedroom next to $9,055 in cash. In a floor safe located in the master bedroom

closet, law enforcement located three kilograms of cocaine, two loaded firearms,

and $14,900 in cash. There was also other cash ($147), an AK-47 75-round drum

magazine, various magazines, ammunition, and gun holsters, among other things,

found throughout the residence.

      98.   The next day, October 21, 2021, at approximately 11:22 a.m., IVAN,

using TT3, placed an outgoing call to an unknown male (UM0190) at telephone

number (918) 693-0190 (TT3 Ref. # 385). During the call, UM0190 asks IVAN,

“Uh, I was going to ask you, have the waters arrived yet?” IVAN confirms they

have, explaining, “Yes, I…in fact, I was talking with this man in the morning and

he already confirmed that it’ll be done on…it’ll be here Saturday or Sunday as the

                                        77
        Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 80 of 91




latest.” UM0190 says, “Cool, cool, okay, okay so I can let my people know and bear

with me, bear with me for a little bit and I’ll let you know who much is there

because there’s something there as well.” IVAN replies, “Oh okay, yeah, if you

want, we can leave it for when I take that, what do you think?” UM0190 agrees,

“Yes, we’ll do it like that, we’ll do it like that.” The call then concludes.

      99.    Based on my training, experience, and knowledge of the

investigation, I believe that in the above call, UM0190, whom law enforcement

knows to be a Tulsa-based customer of the DTO, is asking IVAN when the new

shipment of methamphetamine (the “waters”) will arrive. IVAN tells UM0190

that the new shipment of methamphetamine has not arrived yet, but that he

expects it to arrive either Saturday or Sunday at the latest. UM0190 responds

and says that he will let his customers know.

      100. It appears that the shipment of drugs that the DTO was waiting on

finally arrived the morning of October 26, 2021. That morning, law enforcement

established surveillance in the vicinity of the Indiana Residence, where they

observed JULIA’s gray Chevrolet Cruze parked in the driveway.                   At

approximately 8:40 a.m., officers observed IVAN’s Dodge Ram arrive at the

Indiana Residence. Shortly thereafter, officers observed a Hispanic male come

from the direction of the Indiana Residence, retrieve a large black duffle bag from

the Dodge Ram, and bring it into the Indiana Residence. Then, at approximately

10:00 a.m., officers observed a Hispanic male come from the direction of the

                                          78
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 81 of 91




Indiana Residence carrying a large black duffle bag. The Hispanic male then

placed it inside IVAN’s Dodge Ram. Moments later, officers observed the Dodge

Ram depart the Indiana Residence. Law enforcement maintained surveillance on

the Dodge Ram after it left the Indiana Residence and headed north on Interstate

35.

      101. At approximately 10:30 a.m., law enforcement observed the Dodge

Ram, still traveling north on Interstate 35, commit a traffic violation for improper

lane use and unsafe lane change. Law enforcement then conducted a traffic stop

on the Dodge Ram truck on Interstate 35, just south of E. Wilshire Blvd. Upon

making contact with the occupants of the vehicle, law enforcement identified

AARON as the driver and the two other occupants as JULIA and IVAN. None

of the occupants of the vehicle could produce a United States driver’s license, at

which point law enforcement temporarily detained the occupants.                Law

enforcement then deployed two Oklahoma state-certified canines to conduct free

air sniffs of the Dodge Ram for narcotic odors.       Each canine was deployed

separately and independently of one another. Both canines positively alerted to

their respective law enforcement handlers, indicating the presence of narcotic odor

emanating from the Dodge Ram.

      102. Law enforcement then conducted a probable cause search of the

vehicle. In the bed of the Dodge Ram, law enforcement found a black duffle bag

containing cellophane wrapped bundles.        In total, there were twenty-three

                                        79
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 82 of 91




bundles. Twenty of these bundles were wrapped in green cellophane. Two

bundles were wrapped in black tape, and one bundle was wrapped in a food saver

bag. A field test of a randomly chosen green-wrapped bundle yielded a positive

result for methamphetamine. A field test of one of the two bundles wrapped in

black tape field yielded a positive result for cocaine. Lastly, a field test of the

bundle in the food saver bag yielded a positive result for cocaine. The final

aggregate weight of the methamphetamine 22.85 gross kilograms and the final

aggregate weight of the cocaine was 3.28 gross kilograms.

      103. All three individuals were arrested and transported to the DEA

OCDO for processing and interviews. IVAN was read his Miranda rights and

agreed to speak with investigators. During his Mirandized interview, IVAN

admitted that he left the Indiana Residence with the methamphetamine and

cocaine to deliver those drugs to an unidentified customer in Tulsa, Oklahoma.

Further, IVAN stated that in the Indiana Residence there would be

approximately $40,000 in drug proceeds.

      104. In response to this information, law enforcement obtained and

executed a search warrant for the Indiana Residence. During the execution of that

warrant, law enforcement seized approximately 9.5 kilograms of cocaine, 4

kilograms of methamphetamine, two firearms, and approximately $192,692.42

from the Indiana Residence.

      105. In the hallway between the kitchen and the bedrooms of that

                                        80
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 83 of 91




residence, law enforcement located a Barret 50 caliber rifle bearing serial number

AA012742. They also located a Colt 1911 handgun bearing serial number

CJA42228 in the coat closet near the front door.

      106. In the garage of the residence, investigators located a cardboard box

with a duffle bag in it. In the duffle bag investigators located four packages of a

crystal-like substance with an approximate field weight of 5,772 grams. A field

test yielded a positive result for methamphetamine. In the box that contained the

duffle bag, investigators located 9.5 hard brick-style packages that had an

approximate field weight of 11,099.9 grams and which field tested positive for

cocaine.

      107. Law enforcement also recovered detailed drug ledgers (the Indiana

Ledgers) throughout the residence, including in the hallway closet, in a rubber

tote in the kitchen, and on the kitchen table.        The ledgers also contained

information on rent and bill payments under the label “49th”—which I believe

refers to 1108 SW 49th, Oklahoma City, Oklahoma, which the investigation had

previously identified as a stash house for the DTO.

      108. In the kitchen of the residence, investigators located approximately

$61,696 in the same rubber tote that contained the ledgers; law enforcement also

recovered approximately $116,000 of bulk cash in a closet and approximately

$14,996.42 in the bedroom. Nearly all of this currency was vacuum-sealed, which

I believe based on my training and experience is indicative of bulk cash smuggling.

                                        81
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 84 of 91




      109. In the garage of the residence, investigators observed and

photographed several different bags and boxes containing laundry detergent that

produced an overwhelming odor throughout the residence. As law enforcement

counted the bulk currency, they noticed this odor was emitted from the vacuum-

sealed currency.   Based on my training and experience, I believe this was

deliberately placed on the currency in an attempt to mask the odor to avoid

detection by any law enforcement K-9, a common method used by drug trafficking

organizations.

      110. The Indiana Residence contained two bedrooms loaded with clothing

items, shoes, hats, and daily essentials. Throughout the residence, investigators

observed mail and identification items linking JULIA, IVAN, and AARON.

      111. Based on calls intercepted over TT4 on October 26, 2021, PEREZ-

CAMACHO’s investigators believe that news of AARON, IVAN, and JULIA’s

arrest earlier that day had reached PEREZ-CAMACHO.              For example, at

approximately 4:52 p.m. PEREZ-CAMACHO, using TT4, placed an outgoing call

to Juan Lopez Carreon (LOPEZ-CARREON) at telephone number (405) 764-

3957 (TT4 Ref. # 1497). During this conversation, JUAN advises PEREZ-

CAMACHO that ROY wanted him to pick up “70 pesos” at “Julia’s house.”

PEREZ-CAMACHO then tells LOPEZ-CARREON that law enforcement would

be hitting that house because they (JULIA and her sons) had everything under

that “house’s name.” PEREZ-CAMACHO then tells LOPEZ-CARREON that

                                       82
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 85 of 91




CHUY had asked him to find someone to go pick up the “work” at “49th” and that

“Golo” (DOMINGUEZ) knew its location. LOPEZ-CARREON asked if that

would be more difficult, and PEREZ-CAMACHO said no, because nobody knew

about the house on 49th.

      112. Based on my training, experience, and knowledge of the

investigation, I believe that in this call, PEREZ-CAMACHO was asking LOPEZ-

CARREON to go pick up $70,000 (“70 pesos”) that would be at the Indiana

Residence. He also tells LOPEZ-CARREON that CHUY LNU needed someone

to go pick up drugs (the “work”) from the 49th St. Residence and that would be

less risky. I believe that the DTO was attempting to move cash from JULIA’s

house on Indiana Ave. and drugs from the house on 49th St.—which PEREZ-

CAMACHO did not believe law enforcement knew about.

      113. It appears that the DTO attempted to do just that. While executing

the search warrant at the Indiana Residence, law enforcement had observed a

dark colored Jeep Grand Cherokee in the vicinity of the Indiana Residence, which

was notable because law enforcement had previously identified a dark colored

Jeep Grand Cherokee belonging to ROY.         Moments later, law enforcement

observed ROY’s dark colored Jeep Grand Cherokee bearing Oklahoma License

plate SRT-ROY park on the street in the area of 1108 SW 49th Street. Shortly

thereafter, law enforcement observed an individual wearing an orange shirt, later

identified as ROY, and a second Hispanic male, walk to the front porch of 1108

                                       83
        Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 86 of 91




SW 49th St. Law enforcement then observed both individuals walk around to the

rear of the residence. Not long after, at approximately 7:09 p.m., law enforcement

observed ROY and the other Hispanic male walk back to the Jeep Grand

Cherokee and depart. Law enforcement, however, was unable to maintain

surveillance on ROY’s Jeep Grand Cherokee. Around the time ROY and the other

Hispanic male had left the 49th St. Residence, Oklahoma City Police Department

(OCPD) dispatch received a call reporting that a subject was attempting to break

into the 49th St. Residence and that the subject departed in a Jeep Grand

Cherokee.

      114. At approximately 7:15 p.m., OCPD then responded to the 49th St.

residence and observed the back windows broken out of the residence. While

conducting a protective sweep of the residence to determine that no individuals

were inside, law enforcement observed pallet jacks propped on the rear door, a

safe in a closet, and a rifle box.

      115. Law enforcement was able to eventually locate ROY’s Jeep Grand

Cherokee at DOMINGUEZ’S residence at the Hillcrest Apartments, located at

1402 SW 59th Street, Oklahoma City, Oklahoma. At approximately 7:50 p.m., law

enforcement observed ROY and DOMINGUEZ exit the apartments and enter

DOMINGUEZ’s Chevrolet Cruze and depart the apartment complex.

Surveillance was maintained on the Cruze. Then, at approximately 8:02 p.m., law

enforcement observed the Cruze arrive at the 49th St. Residence. Law

                                       84
        Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 87 of 91




enforcement then observed an individual exit the Cruze and walk towards the

front door next to the 49th St. Residence. Shortly thereafter, the individual

walked back towards DOMINGUEZ’s Cruze, and the vehicle departed the area.

      116. Not long after, at approximately 8:09 p.m., law enforcement

conducted a traffic stop in the area of the 49th St. residence on the Cruze for a

traffic violation.   The occupants of the vehicle were identified as ROY and

DOMINGUEZ. Police issued a warning to the two occupants and they were

released from the scene without incident.

      117. Based on calls over TT4, it appears that LOPEZ-CARREON and

ROY had in fact attempted to break into the 49th St. residence earlier that night

and that ROY, in a second attempt with DOMINGUEZ, had attempted to return

to the house to retrieve the DTO’s stash of drugs. At approximately 8:25 p.m. that

night, PEREZ-CAMACHO used TT4 to place an outgoing call to LOPEZ-

CARREON (TT4 Ref. # 1522.)          During the call, LOPEZ-CARREON tells

PEREZ-CAMACHO that he (LOPEZ-CARREON) and ROY had gone to the

house on 49th St. but had left after a neighbor heard LOPEZ-CARREON

breaking a glass. LOPEZ-CARREON stated that he was no longer with ROY.

      118. Then, roughly fifteen minutes later, at approximately 8:40 p.m.,

PEREZ-CAMACHO made another call to LOPEZ-CARREON (TT4 Ref. #

1523). During the call, PEREZ-CAMACHO tells LOPEZ-CARREON that

“Chuy” told him that ROY had been stopped by the police. LOPEZ-CARREON

                                       85
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 88 of 91




then explains that after they (he and ROY) had left the house, ROY wanted to go

again, but LOPEZ-CARREON did not want to go because his hand was cut from

the broken glass. LOPEZ-CARREON continued, explaining that ROY had

wanted to return to the house to pick up the “devices” and that he had taken “Golo”

(DOMINGUEZ) with him.

      119. Based on my training, experience, and knowledge of this

investigation, I believe that the events described above further corroborate that

the DTO was using 1108 SW 49th as a stash house, and that ROY and LOPEZ-

CARREON had first attempted to break into the stash house but had left after a

neighbor heard them breaking glass. This was consistent with the 911 call that

OCPD dispatch received. I also believe that ROY and DOMINGUEZ then

returned to the house one more time, presumably because they had not been able

to move drugs out of the 49th St. residence during their first attempt. That it had

been ROY and DOMINGUEZ that had attempted to return to the house the

second time seems to have been corroborated by law enforcement’s identifying

both men after they pulled ROY’s vehicle over for a traffic violation, as well as the

call described above.

      120. Late that evening, law enforcement obtained a search warrant for the

49th St. Residence. In the southeast bedroom of the 49th St. Residence, law

enforcement located one package, wrapped in black tape, that contained a black

tar-like substance, consistent with the appearance of heroin. This substance had

                                         86
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 89 of 91




an approximate field weight of 1,462.1 grams. Investigators attempted to field

test the package for heroin, but the field test results were inconclusive.21 In the

northeast bedroom of the 49th St. Residence, law enforcement recovered a plastic

bag containing a white powder substance, which had an approximate field weight

of 1,126.7 and which field tested positive for cocaine.

      121. Throughout the kitchen of the 49th St. Residence, investigators

located several varieties of plastic wrap or “skins” that appeared to have been used

to package drugs at some point. In several of these “skins” there were remnants

of a crystal-like substance that field tested positive for methamphetamine.

      122. In the living room of the residence, law enforcement observed several

empty firearms boxes that were associated with handguns and high-end rifles.

Based on this, I believe that the 49th St. residence was being used to traffic

firearms. The 49th St. Residence also contained items of dominion and control for

JULIA, IVAN, and AARON. Law enforcement located a Mexican passport and

mail addressed to JULIA, as well as plane tickets for AARON and fake

identification cards for both AARON and IVAN.




21    Along with the other drugs seized during the investigation, this package
has been sent to a DEA lab for further testing.
                                         87
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 90 of 91




                               CONCLUSION

      123. Based on training and experience, and the foregoing information,

I submit that there is probable cause to believe that Maria Julia Baeza-

Medrano, a/k/a “La Tia” (JULIA), Jesus Ivan Baeza-Medrano, a/k/a “Polaco”

(IVAN), Carlos Aaron Baeza-Medrano (AARON), Alexis Perez-Camacho, a/k/a

“Cholo” (PEREZ-CAMACHO), Jose Ramon Dominguez, a/k/a “Golo”

(DOMINGUEZ), Juan Luis Lopez-Carreon, a/k/a “El Licenciado” (LOPEZ-

CARREON), Juan Soto, a/k/a “El Güero” (SOTO), Ivan Roy Gonzalez-

Hernandez, a/k/a “Roy” (ROY), Kevin Perez-Camacho (KEVIN), Andrea Marie

Alvarez (ALVAREZ), Josue Israel Lopez, a/k/a “Mono” (LOPEZ), Omar

Joseph Lincoln (LINCOLN), Lavern Thomas (THOMAS), Nancy Morales

(MORALES), Cesar Omar-Meraz (OMAR-MERAZ), and Diego Loya-Najera

(LOYA-NAJERA), knowingly and intentionally conspired together, along

with persons both known and unknown, to possess with intent to distribute

intent to distribute controlled substances, including 5 kilograms or more of a

mixture or substance containing a detectable amount of cocaine and 500 grams

or more of a mixture or substance containing a detectable amount of

methamphetamine, both being Schedule II controlled substances, in violation




                                     88
       Case 5:21-mj-00674-STE Document 1 Filed 11/28/21 Page 91 of 91




of 21 U.S.C. § 846. It is therefore requested that arrest warrants be issued for

the offense listed above.



                                    ________________________________
                                    TYLER T. RAWDON
                                    Special Agent, DEA


Sworn and subscribed before me this _____day of November 2021.


                                    ___________________________
                                    SHON T. ERWIN
                                    United States Magistrate Judge




                                      89
